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                          UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF VERMONT

       ALICE H. ALLEN, et al.          *
                                       *
                      V                *
                                       *
       DAIRY FARMERS OF AMERICA,       *
       INC., et al.                    *   CIVIL FILE NO. 09-230




                                 FAIRNESS HEARING
                              Friday, May 13, 2016
                               Burlington, Vermont




       BEFORE:

             THE HONORABLE CHRISTINA R. REISS
                Chief District Judge


       APPEARANCES:

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                Plaintiffs

                                                 Appearances Cont'd...



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 1     FRIDAY, MAY 13, 2016

 2     (The following was held in open court at 10:05 a.m.)

 3                 COURTROOM DEPUTY:      Your Honor, the matter

 4     before the Court is civil case number 90-CV-230, Alice

 5     Allen, et al., versus the Dairy Farmers of America,

 6     Incorporated, et al.      Representing the plaintiff are

 7     attorneys Kit Pierson, Brent Johnson and Robert Abrams.

 8     Representing the defendant are attorneys Steven Kuney

 9     and Ian Carleton.      And we are here for a fairness

10     hearing.

11                 THE COURT:    Good morning.     I am going to kind

12     of tell you how we are going to proceed today and give

13     you some ideas of things that you might want to talk

14     about and hopefully answer any questions you will have

15     before you appear.

16           The Court received approximately 1400 letters.            I

17     have read those letters whether or not they were timely,

18     so don't worry about that.       A few were not from class

19     members.    If you are not a class member, you can't

20     actually object or approve of the settlement.           A few

21     were from people who had opted out of the class and so

22     they're no longer class members.         But most of them were

23     from people who had closely followed this litigation,

24     that were aware of the claims, that had some very

25     important insights into the dairy industry, this case
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 1     and the proposed settlement, and I read them with

 2     interest.

 3             So if for any reason you don't get to speak, don't

 4     worry.     I have read your written comments.

 5             We are going to try to get to everybody today who

 6     filed in accordance with the Court's rules about an

 7     opportunity to speak.      In order to do this, I am going

 8     to have to set some ground rules.         So I am planning on

 9     each of you presenting for about five to seven minutes.

10     I am going to be watching the clock, but I want to focus

11     on what you are saying.       Please be careful yourself in

12     that respect, and then I won't have to be rude and

13     interrupt you.

14             It sometimes helps to collect your thoughts in

15     bullet points:     "These are the five things that I want

16     the judge to take away from my remarks."          It's fine to

17     repeat other things that -- things that other people

18     have said, but you might want to offer new information.

19             You can talk about the attorneys' fees if you would

20     like.    That's going to be decided in a separate motion.

21     We are going to try to get through everybody who has

22     notified us of their intent to appear in a timely

23     fashion.     We will call out the names.       You can come

24     forward.     You are not going to be under oath.        If you,

25     for some reason, wanted to be under oath, that's fine.
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 1     It's not required for a fairness hearing.          So that -- I

 2     will leave that up to you, but I don't expect people

 3     will be under oath, and they will not be subject to

 4     class -- to cross examination.        So nobody will be

 5     questioning you about the remarks that you offer.

 6           Please remember that we are in a courtroom, so make

 7     sure that your remarks are courteous.          I know that

 8     people have some strongly held opinions.          That's fine.

 9     I want to hear them, but I want you to choose language

10     that's appropriate for a courtroom.

11           Some of the things that I am going to be deciding

12     today may be helpful in framing your remarks.           One of

13     the things that I am going to have to look at in terms

14     of approving this settlement is whether it was

15     procedurally fair.      Who was involved in the

16     negotiations?     How did the negotiations occur?           Were

17     they fair and at arm's length?        Were opposing viewpoints

18     considered?     And, is this a procedurally fair

19     settlement?

20           The next thing I am going to have to determine is

21     whether this is a substantively fair settlement, and the

22     Court is directed to look at a number of factors to make

23     this determination.      These are factors that are set

24     forth in the law:

25           The complexity, expense and likely duration of the
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 1     litigation; the reaction of the class to the settlement;

 2     the stage of the proceedings and the amount of discovery

 3     completed prior to the settlement; the risks of

 4     establishing liability.       So how likely was it that the

 5     plaintiffs would win at trial or the defendants win at

 6     trial?    Would there be appeals thereafter?        How long

 7     would it take to reach a different resolution through a

 8     trial?

 9             The risks of establishing damages.       The risks of

10     maintaining the class through the trial.          So in the

11     event that the class got decertified, we would have a

12     trial for individuals but we would not have a

13     class-action suit.      That would be a very different case.

14             The ability of the defendants to withstand a

15     greater judgment.      Could they pay more?      Should they pay

16     more?    Why should they pay more?

17             The range of reasonableness of the settlement fund

18     in light of the best possible recovery.          So how does

19     this match up to what would happen at trial in the best

20     possible circumstances, but again, factoring in the

21     appeals period, evidentiary rulings, other factors?

22             And so those are the things I am going to be

23     looking at and you may want to consider as well.            And

24     what we are going to do is we are going to get started

25     right away with people, and I know some of you have to
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 1     leave, and the attorneys will speak at the end of the

 2     hearing.

 3           So it's much more important that I hear from class

 4     members than attorneys at this fairness hearing, and the

 5     goal is to determine whether this proposed settlement,

 6     which I will call the December 2015 settlement, is fair,

 7     reasonable and adequate.

 8           The first person is Kenneth Dibbell, and if he

 9     would come forward.      We are doing this in the order in

10     which we received your notice of intention to speak.         I

11     will hear from him.

12           And I will ask you, when you come forward, if you

13     will just state and spell your name for the record.

14                 KENNETH DIBBELL:     And that is Kenneth Dibbell,

15     not Dibbell (pronunciation).

16                 THE COURT:    Sorry, sir.

17                 KENNETH DIBBELL:     I am only going to give

18     you people today a brief history lesson on the dairy

19     industry.

20           In 1940, we had 4.66 million licensed and inspected

21     dairy producers.      97 percent of those farms were from

22     one to 29 cows.     Over the years, we suffered

23     considerable attrition for various reasons.

24           We will go fast-forward to 1980, more or less

25     modern times.     In 1980, we still had 350,000 dairy
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 1      producers in this nation.       Today, we're down to 43,000

 2      and falling.    That's less than one percent of the farms

 3      we had in 1940 producing milk.        It's an outrage.

 4            We have taken the hardest-working people in this

 5      nation, 14 hours a day, seven days a week, and we have

 6      put them out of business due the economic strangulation,

 7      failure to pay them what it costs to make the product.

 8      There's a few people responsible for this.

 9            It starts in Washington with our government.          USDA,

10      economic research, calculates to current cost of

11      production for 23 states, average 27.66 per

12      hundredweight, but AMS is currently administering a pay

13      price under $13 per hundredweight.        While it's pretty

14      difficult to pay 25, $27 of the cost with 13 or $14,

15      Houdini, that's the only one I know of, that could do

16      it.

17            It's an outrage what we have done to the

18      dairy-producing community, and it's not just the

19      government's fault; the dairy cooperatives' are equally

20      irresponsible for their farmer/owner, quote, members not

21      to come up with a supply management system and quit

22      flooding the market.      That's why our price is in the

23      toilet.

24            Global market kept us going for a couple of years

25      with 15, 17 percent exports.       Well, my position on the
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 1      global market is we need to get out of the global

 2      market.    We need to cancel NAFTA, GATT and WTO, which

 3      was responsible for doing away with the COOL labeling,

 4      and our consumers have a right to know where their food

 5      comes from, and that COOL labeling, country-of-origin,

 6      labeling, was a good item.       And our people deserve to

 7      have that, and the good state of Vermont probably does

 8      still have it.

 9            Currently -- I am going to leave this with the

10      Court.    It's an explanation of the bill that could have

11      solved this problem way back in 2007.         The Casey-Specter

12      bill, Senate 1640, had a supply management system, a

13      proper pay price to keep farmers farming, and the

14      surplus, if there was one, was going to be manufactured

15      at the cost of the producers and given to the food

16      banks, a very common-sense principle.         Taxpayer money

17      wasn't going to be involved.

18            I mean, we used to have a system where the

19      government bought the product and gave it away.             This

20      was designed with total common sense.

21            Those who continued to grow and overproduce beyond

22      the market needs were going to pay for the

23      manufacturing, and it was going to be donated to the

24      food banks.

25            It is my hope that this Court will see the light,
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 1      put this thing before a jury.        In the Southeast case, a

 2      parallel situation, Dean Foods and DFA coughed up $300

 3      million, and here we have the same situation where Dean

 4      Foods got away for 30 mill and DFA is still trying to

 5      get away with 50 mill and no fault.

 6            It's an outrage.     I'm finished.     And that if I got

 7      time left, and I should have, I'll yield it to Joshua

 8      Car -- Haar.    Thank you.

 9                  THE COURT:    Thank you.

10            Next person --

11                  KENNETH DIBBELL:       This is for the Court.

12                  THE COURT:    Okay.     And if you give it to Jen,

13      she will take it.

14                  THE COURT:    Stephen Taylor.

15                  KENNETH DIBBELL:       Thanks, Jen.

16                  STEPHEN TAYLOR:       Thank you, your Honor.    My

17      name is Stephen H. Taylor; S-t-e-p-h-e-n H. Taylor,

18      T-a-y-l-o-r.

19            I am a dairy farmer of some 40 years.         I farm with

20      my sons in the village of Meriden, New Hampshire.           I

21      served from 1982 until 2007 as the commissioner of

22      agriculture for the State of New Hampshire.          Throughout

23      my lifetime, my adult lifetime, and involvement in dairy

24      farming, I have had an enormous interest in dairy policy

25      issues, and in retirement I continue to hold that
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 1      interest.

 2            I am one of the new named representatives who was

 3      admitted to this case by the Court, and I am here today

 4      to appear to support the proposed settlement that has

 5      been placed before the Court, and I also wish to support

 6      the alternative fee motion that has been offered.

 7            The letter that I submitted to the Court on April

 8      27th goes into considerable detail about my position on

 9      this matter.    I will try at this point just to hit some

10      of the highlights.

11            I petitioned the Court to enter the case because I

12      was extremely troubled by the apparent heavy focus on

13      monetary relief and the inadequacy of the nonmonetary

14      provisions that were proposed in the initial settlement.

15      I was also deeply concerned about the breakdown in the

16      relationship between the named representatives and the

17      plaintiffs' counsel, and I was further concerned deeply

18      about the fee that was proposed as being excessive.

19            This proposed settlement represents a significant

20      improvement, in my view, over the first proposal in

21      several respects.     Provision for an audit, for an

22      ombudsman, for a clarification on full-supply contracts

23      and testing protocols are all very, very important, but

24      it's important, I think, that this Court recognize that

25      the log jam that was represented in the first proposed
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 1      settlement has been broken through a great deal of

 2      effort on the part of counsel, on the part of named

 3      representatives.

 4            The negotiations that I have been involved with

 5      have been very respectful.       They have recognized that

 6      there are considerable variances in viewpoints.             I think

 7      everybody who wished had a chance to be heard, and we

 8      worked very, very diligently to get to the point we're

 9      at today.

10            The most important provision of this proposed

11      settlement, your Honor, is the provision for an audit,

12      and I think that that is a breakthrough and of extreme

13      importance.    Also essential that the audit have adequate

14      resources to be conducted fully and thoroughly.

15            The new and strengthened provisions of the proposed

16      settlement, I feel, and the Court's power to make them

17      work, can alter the defendants' practices that left us

18      at this -- resulted in the bringing of this action.

19            Your Honor, I believe the alternative of going to

20      trial is not rational at this point.         My feeling is that

21      all could be lost in the long shot of attempting to win

22      at trial.

23            The majority of the messages the Court has

24      appeared -- has received appear to favor the settlement.

25      There are some very strongly held views in opposition,
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 1      and I recognize 'em and I respect them, but there are

 2      also thousands of people who have not been heard who are

 3      within the class.     And I think the attitude of those

 4      people can be summed up in this way:         They trust the

 5      Court in a fiduciary role to manage this matter in their

 6      best interests, and I think -- I urge the Court to take

 7      that as my view.

 8            Some people look at this as a glass half empty;

 9      others look at it as a glass half full.         However it is

10      viewed, I think it is worthwhile pursuing the settlement

11      as it is presented today.

12            Speaking to the fee, the combined DFA, Dean

13      monetary settlement would amount to about $80 million.

14      I believe a 20-percent allocation for fee, placing that

15      at 16 million, would be proper.        In the scale of the

16      business activities that these entities represent,

17      billions and billions of dollars, this recovery is quite

18      small.

19            Division of the fee.      The case is where we are

20      because of the efforts of the new named representatives,

21      and the previously named representatives as well, and

22      also the counsel, and I wish the Court to take note of

23      the hard work and dedication, diligence and talent that

24      was brought to bear by my counsel, Mr. Smith, and

25      Mr. Cassidy.    They brought knowledge of the intricacies
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 1      of the northeastern dairy industry to bear in a very

 2      productive and important way, and they also made certain

 3      that the process by which we continued the negotiations

 4      were very open and respectful.

 5              Thank you, your Honor.

 6                   THE COURT:   Thank you.

 7              Darrel Aubertine.

 8                   DARREL AUBERTINE:    Morning, your Honor.

 9                   THE COURT:   Good morning.

10                   DARREL AUBERTINE:    And thank you for the

11      opportunity.    Again, my name is Darrel.       I am former

12      commissioner of ag and markets in New York State.           My

13      name is D-a-r-r-e-l A-u-b-e-r-t-i-n-e.

14              I'd like to speak on essentially three issues.           I

15      would first like to speak on the issue of the settlement

16      itself in support of the settlement.         I would also like

17      to give my thoughts with regard to the comments that you

18      spoke of earlier, these letters from the farm community.

19      I would also like to emphasize my support for my former

20      colleague, Steve Taylor, with regard to the attorneys'

21      fees.

22              I am a former dairy farmer, some people call

23      recovering dairy farmer, from northern New York State.

24      And northern New York State, not unlike other places in

25      the nation, faces a lot of issues with regard to outlets
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 1      for the milk -- the dairy community does.          Like many

 2      others, I have been concerned with the apparent

 3      manipulation in the marketplace that seems to work to

 4      the detriment of the dairy community.         I joined the suit

 5      to see if something better could be made of the proposed

 6      settlement that the Court rejected earlier.

 7            As the Court decided, there was obviously too much

 8      focus on money and not enough on an attempt to do more

 9      to change the conduct of DFA and DMS in the marketplace,

10      and we were appreciative of the window that we were

11      given last fall to do what we could to improve upon the

12      settlement.

13            Mr. Smith and myself were instrumental in

14      organizing several meetings in Albany, New York, as well

15      as numerous phone calls, e-mails and the like, to try to

16      put together as best we could an alternative, an

17      enhanced -- the settlement that was rejected.

18            Now I can't say that we ended up with sweeping

19      reform.   We didn't.     And from the first meeting with the

20      original class counsel, it was very apparent that the

21      case wouldn't allow for this anyway.         But I still

22      strongly believe the settlement is an important,

23      positive first step toward a more open marketplace.

24            The attorneys have identified the many new

25      proposals and parts thereof and how they would work with
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 1      the original provisions.       The net result should --

 2      should be that the defendants are going to have to

 3      operate in a more transparent fashion both as a business

 4      enterprise and now as they relate to their own members.

 5            Even if I'm not a DFA member, I, for one, plan to

 6      keep a close eye on the position of advisory council

 7      member.    The time and resources are there now for that

 8      position to make a real change.        The net change should

 9      come in the form of higher farm gate prices.

10            I will also be very interested to observe the

11      ombudsperson's work.      This is an innovation that should

12      prove to be a real change in the cooperative's operating

13      culture.    I expect the other cooperatives will be

14      observing to see how this works as well.

15            Now, with regard to the many letters you have

16      received, I would like to provide a few thoughts of my

17      own as a former commissioner but that as a

18      multigenerational farmer as well.

19            First, I think it's very meaningful that you have

20      received well over a thousand letters.         I believe it's

21      rare that the farm community in general would respond in

22      such a manner.     I also think you have gotten a

23      representative response.       The relative number of

24      supporters versus the opponents indicate by -- indicate

25      by their letters the overwhelming support which is
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 1      strongly in favor of the new provisions for the reasons

 2      stated.    And I -- also bringing this case to conclusion

 3      was a major factor in farmers that I had the opportunity

 4      to talk to.

 5              Now, as far as the fee, I would like to associate

 6      myself with the comments of my former colleague, Steve

 7      Taylor.    The legal fee of over $22 million, roughly 25

 8      percent of the settlement, exceeds -- it would seem to

 9      me, is excessive and based on the criteria used in the

10      Southeast case and in the Dean Food case here in the

11      Northeast.

12              While I do not believe, as I said, that the

13      settlement is an important first step toward a more open

14      marketplace, it still won't accomplish as much as was

15      done down south.     Of course the monetary recovery, even

16      combined with the prior settlement, isn't nearly the

17      same.

18              I am not doubting that substantial -- a substantial

19      fee has been earned.      Again, as a policymaker, I

20      understand that we need to provide an incentive for

21      attorneys to pursue these difficult cases, but Steve and

22      myself believe that a proposed 20-percent, roughly,

23      combined fee, amounting to $16 million -- and again, I

24      pretend to be no expert -- would seem to be more in

25      line.
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 1            I also believe, as Mr. Taylor just -- just said,

 2      that Mr. Smith and Mr. Cassidy deserve more than a

 3      straight-line share of the fee.        Mr. Smith, in

 4      particular, really did come in at a time and use his

 5      expertise for the -- from a dairy perspective on dairy

 6      issues to get us to the point where we are today.

 7                  THE COURT:    So we're coming up on your time.

 8      Go ahead.     Just a couple --

 9                  DARREL AUBERTINE:     In closing, I believe the

10      overwhelming majority of the dairy farm community do

11      want to establish clear guidelines as to what is and is

12      not acceptable in the marketplace.        And as I said

13      earlier, the settlement should not be looked at as

14      sweeping reform but rather a positive step in an effort

15      to bring fairness and equity to the marketplace;

16      therefore, I do support settling of the case.

17                  THE COURT:    Thank you.

18            The next person is Lyle Wood.

19                  LYLE WOOD:    Good morning, your Honor.

20                  THE COURT:    Good morning.

21                  LYLE WOOD:    My name is Lyle J. Wood, L-y-l-e

22      J. W-o-o-d.

23            I own and operate Wood Farms, LLC, in Clayton, New

24      York, with my cousin, Scott Bourcy.         I'm a

25      third-generation dairy farmer.        I have worked at the
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 1      farm since I was nine years old.

 2            The farm was started in 1945 by my grandfather,

 3      Henry Wood, with 16 cows.       We currently milk over 1200

 4      cows on two dairies and ship our milk through the home

 5      dairy independently and through our other dairy through

 6      Agri-Mark.     We have been with DMS since they have been

 7      incorporated and started, and at the other dairy we have

 8      been at Agri-Mark for four years.

 9            Additionally, I am a state director for DairyOne,

10      and I am in favor of settling this lawsuit.          I have a

11      wife, Jennifer, who is here with me today, and I have

12      three children:     Hannah, Henry and Harrison.

13            At DairyOne, the core of DairyOne is the belief in

14      agriculture's integrity; integrity, professionalism,

15      commitment and innovation.       That's the key to our

16      long-term success at DairyOne.

17            The DairyOne milk lab is one of the largest of its

18      kind in North America.      Our staff excels at testing milk

19      accurately.     DairyOne has invested in top-of-the-line

20      equipment.

21            Every day the lab receives 2500 to 3,000 bulk tank

22      milk samples tested for food safety and farmer payment

23      purposes.     DFA makes up only half of our bulk tank

24      business.     Each day the lab also tests an average 20,000

25      individual cow milk samples.       Farmers use these results
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 1      to better manage their herds.        The large number of

 2      samples the lab receives every day requires a system

 3      that is designed to provide accurate results for

 4      samples, but not making --

 5                  THE COURT:    So let me just stop you.          This

 6      happens to anybody who reads, you speed up.          I do it to

 7      her all the time.     So she is having a hard time keeping

 8      up with you.

 9                  LYLE WOOD:    Oh.   My wife told me when I came

10      up to slow down, so --

11                  THE COURT:    That's okay.     Whenever -- when you

12      read, you speed up.      Go ahead.    You are doing fine.

13                  LYLE WOOD:    Sorry.     I had it written down.

14            So the lab has approximately 20,000 samples a day

15      that they receive in the lab.        And at DairyOne, our

16      board is made up of 17 directors, 14 which are elected

17      at large and then three DFA board members, to make a

18      total of 17.

19            The milk analyzers are checked every week by the

20      USDA at our lab.     There are 12 people involved in doing

21      the samples on a daily basis.        Every sample is handled

22      by at least three employees during every test.              The lab

23      is regulated by numerous state and federal agencies.

24      For example, this winter three different agencies

25      visited over three weeks to inspect the laboratory.
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 1              I am in favor of settling this lawsuit because DMS

 2      has been good to us since we have been with DMS.            We

 3      have been independent.       We have never been threatened

 4      or felt threatened, neither way.         Any time we've had a

 5      problem or anything going on with DMS, they have been

 6      very helpful in solving any of our problems, from a test

 7      sample or anything else that we have done with them.

 8      And they have always -- they have never, you know,

 9      wanted us to be in DFA, be in anything else, and being

10      Agri-Mark at the other dairy, they still could care

11      less, you know, what we do, and I don't know how we

12      would market our milk if we didn't have DMS to go

13      through.

14              And with DMS, we have had -- DFA also helps us out

15      with certain problems even though we don't -- we are not

16      a member of the co-op for DFA.

17              So that's all I got to say.

18                   THE COURT:     Okay.   Thank you.

19                   LYLE WOOD:     Thank you.

20                   THE COURT:     Gary Genske on behalf of John J.

21      King.    I should say Gary Genske.

22                   GARY GENSKE:     Good morning, your Honor.

23                   THE COURT:     Good morning.

24                   GARY GENSKE:     Can the clerk hand you -- I have

25      a typed --
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 1                   THE COURT:     Sure.

 2                   GARY GENSKE:     I'm a dairy farmer from New

 3      Mexico.

 4                   THE COURT:     So make sure she can take -- the

 5      court reporter can take down your -- the spelling of

 6      your name.

 7                   GARY GENSKE:     Okay.   Might as well be sworn in

 8      too.

 9                   THE COURT:     Okay, if you want to.

10                   (Gary Genske was duly sworn.)

11                   GARY GENSKE:     I'm a dairy farmer from New

12      Mexico.   We milk about 2,000 cows.       I'm a C --

13                   THE COURT:     So you are -- you are not part of

14      the class, but you are speaking on behalf of somebody

15      who is?

16                   GARY GENSKE:     Yes.

17                   THE COURT:     Okay.

18                   GARY GENSKE:     I'm -- a brief introduction of

19      myself.

20                   THE COURT:     Okay.

21                   GARY GENSKE:     I qualify myself first as a

22      dairy farmer.     I produce for Dairy Farmers of America.

23      They owe my dairy $2 million every day of the week.             And

24      I am a CPA.     Our dairy clients produce about 12 percent

25      of the milk in the country in 31 states.          So nobody's
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 1      more addicted to this industry than probably I am.

 2            However -- good morning, your Honor -- I am here

 3      with resumé attached at the request of dairy farmer and

 4      subclass member John J. King from -- I am going to say

 5      it wrong -- Pequea, Pennsylvania, to speak on his behalf

 6      and to object to the proposed second amended settlement

 7      agreement.

 8            In the proposed settlement agreement, defendants

 9      DFA/DMS offer, aside from the $50 million, other

10      concessions that give the illusion that the defendants

11      will become more transparent to their co-op membership.

12            The agreement was written -- or as written, in my

13      opinion, will do very little to change the DFA/DMS

14      management behavior.      Various provisions of the

15      agreement are a form over any real substance.

16            First of all -- this is a total of five minutes.           I

17      timed it several times.      All right.

18            First of all, DFA is a cooperative organized under

19      the laws of the state of Kansas, Chapter 7.          I do have

20      it attached, the state law.       And the state law states:

21            Associations organized under this act shall be

22      deemed nonprofit as they are not organized to make a

23      profit for themselves as such or for their members as

24      such but only for their members as producers.

25            Second, DFA is a cooperative whose farmer net
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 1      equity has diminished over the last 10 years from 722

 2      million in 2006 -- that's page 13 attached -- to 470

 3      million in 2015 -- page three attached.

 4            Third, it is a cooperative that has not made any

 5      net profit from its own operations and has made profits

 6      only from joint ventures in all of the last 10 years --

 7      pages -- even numbered pages 4 through 14 --

 8      illustrating that only milk-buying customers are making

 9      money.   The co-op and its member producers are not.

10            Fourth, it is a cooperative offering an

11      out-of-court settlement in this and other antitrust

12      cases.   The proposed settlement agreement with the

13      stated goals -- on page 20 of the agreement -- to

14      improve producer pay prices and net income margin for

15      dairy farmers, and it also provides the prudent

16      investment of some proceeds from milk sales that

17      advances the interests of DFA/DMS shippers.          The

18      proposed advisory council will be severely limited in

19      achieving any meaningful results.        Only granting the

20      advisory council access to the information already

21      presented to DFA's Northeast Area Council, as the

22      agreement calls for, is not sufficient for the advisory

23      council to achieve the above stated goals.

24            The allegations contained in the original complaint

25      occurred under the watchful eye of the Northeast Area
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 1      Council, therefore, the information DFA provides to the

 2      council obviously falls short of full disclosure of

 3      information, so restricting the advisory council to only

 4      the information the Northeast Area Council receives from

 5      DFA will severely limit the effectiveness of the

 6      advisory council's purpose.

 7            The purpose of the settlement agreement does not

 8      make clear how the findings and recommendations of the

 9      proposed advisory council get communicated to other than

10      DFA's point of contact or how the council's findings and

11      recommendations will get presented to the Northeast Area

12      Council or, more importantly, to the corporate board in

13      Kansas City.    Additionally, the advisory council will

14      severely be bound by confidentially -- confidentiality

15      provisions -- page 26 of the agreement.

16            One more page.     The proposed agreement, on page 32

17      and -3, indicates that DFA's financial information is

18      prepared in accordance with generally accepted

19      accounting principles.      It may be true, but providing

20      the advisory council with only the published accounting

21      reports will not satisfy the goals of the advisory

22      council.    Published financial information did not

23      prevent the alleged clandestine antitrust activities of

24      DFA and DMS.

25            As a CPA and a DFA dairy farmer, I resent the
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 1      insinuation that generally accepted accounting principle

 2      financial statements would disclose illegal business

 3      practices.    And for DFA management and any legal

 4      representative in this matter to hide illegal business

 5      activities behind accounting information published by

 6      accountants is a misrepresentation.

 7             These apparent rights for DFA to censor or suppress

 8      the advisory council's findings or recommendations, and

 9      the restriction of all of DFA's records, essentially

10      makes the advisory council's effort no more than a

11      rubber stamp of approval of DFA's Northeast Dairy

12      Council actions.     So why have an advisory council and

13      make the settlement -- this settlement provision appear

14      to be a material concession on the part of defendant

15      DFA?   Do these provisions provide transparency for DFA

16      and DMS for farmers?      I think not.

17             The proposed settlement agreement as written, in my

18      opinion, will have very little impact on how DFA and DMS

19      will do business in the future.        If the Court cannot

20      grant the proposed advisory council access to all of DFA

21      and DMS records and reasonable dissemination of the

22      council's findings, I would urge the Court to allow this

23      case to go to trial.      Our co-op's behavior must change.

24             With continual decline, as Ken mentioned earlier,

25      of dairy farmers in the country and continued lack of
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 1      enough profitability for sustainability, we dairy

 2      farmers feel we are in the center of a DFA circular

 3      firing squad picking off dairymen and eventually killing

 4      itself in the process.

 5                  THE COURT:     So you are right at your time.       A

 6      little bit more?

 7                  GARY GENSKE:     Just my proposal.

 8                  THE COURT:     Okay.     Go ahead.

 9                  GARY GENSKE:     So I ask the Court:       Reject the

10      second amended agreement and let this matter go to

11      trial, or the proposed settlement -- order the proposed

12      settlement agreement to provide the proposed advisory

13      council full access to all requested records wherever

14      located, to have all findings of the advisory council

15      published without limitation, that the advisory council

16      to be held harmless without retaliation in the same way

17      all attorneys in this case wish to be held harmless, and

18      to appoint myself as the chair of the advisory council.

19                  THE COURT:     All right.     Thank you.

20            Douglas Ricker.

21                  DOUGLAS RICKER:        Good morning.

22                  THE COURT:     Good morning.

23                  DOUGLAS RICKER:        I would like to -- first

24      thing I do is second what the guy just had to say.

25                  THE COURT:     So we -- I know your name.       Would
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 1      you just spell it for the record.

 2                   DOUGLAS RICKER:    Okay.    Douglas Ricker,

 3      R-i-c-k-e-r, from Sussex, New Jersey.         I hope I don't

 4      tear up.

 5              I been coming here the last three times with my

 6      wife.    She's unable to be here today.       She has blood

 7      clots in both lungs and in her legs, so I'm here

 8      representing her and myself.       I'd like to give a little

 9      history not only of the dairy business since 1937 when I

10      was born, and to the present, which sadly comes to 78

11      years.

12              I started out as a young kid not only milking cows

13      but belonging to one of the largest co-ops in New

14      Jersey, and I started coming to the meetings, and I'm a

15      person don't listen to what you say but I listen to what

16      you don't say, and it's very obvious.

17              So I was going to this co-op meeting, I seen what

18      was going wrong, and no one else could see it, so I

19      brought it up before the board, and then within a

20      month's time they filed bankruptcy.

21              The vice president of the organization came to me.

22      He said, "I been here every meeting, every executive

23      meeting.    How do you find out?"       And I said, "Don't

24      listen to what they say.       You listen to what they

25      don't -- what they don't say."
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 1            I've been at farm bureau membership.         I'm just not

 2      some guy down the road.      I was the one that made the

 3      motion back in the '70s, to start a Northeast dairy

 4      committee and farm bureau, and I was a member of that

 5      structure for several years, and when this problems

 6      what's going on now started, I called my neighbor over

 7      my back fence, Lou Dobbs, and I asked him to do a story

 8      on the problems with DMS/DFA and what the problems were

 9      happening, and he did a very good job.

10            A couple years after that, we had a large tornado

11      in our farm that put us out of business, so -- a few

12      months after that Kit Pierson gave me a call, and we

13      welcomed to -- him to our house, and we spent half the

14      day with him and giving him all the stuff that I knew

15      about what was going on, and a lot of this stuff that I

16      was talking to him about was the founder of the person

17      who started this lawsuit, Mr. Bunting.         He's no longer

18      with us.     But when Kit got -- and I got done speaking,

19      he says, "You know anyone that can help us out with this

20      case?"     And I said yes, I have a good friend.       I always

21      don't agree with him, but times to have a best friend,

22      it's best that you always don't agree.         So you had some

23      lively discussions.

24            And this guy sits back here to my left,

25      Mr. Southway.     We go battles here and there, and I have
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 1      disagreed with him and have agreed.         We had our

 2      depositions taken, and we were advised by Mr. Johnson

 3      that we don't talk to each other, and I could

 4      understand, we're getting ready for a lawsuit, don't

 5      talk to each other.

 6            So finally, I don't know, it was a year now, in

 7      July, when decided to -- not to go to court, and I got a

 8      call from Mr. Johnson telling us that we're not going to

 9      court, we're going to try to settle the case, and so I

10      felt like I could call Mr. Southway.

11            I gave him a call, and he and I both agreed that,

12      hey, we want this going to court and not be settled.          So

13      my thought was all on the same page.         That was July.

14      And by December, Mr. Southway and I were talking, and he

15      said, "Well, I been sending some letters to your Honor

16      in the supporting of the settlement," and I said, "No,

17      no, no, no.    We agreed we don't want to do this."

18            So -- and as time proceeded, I heard Mr. Southway

19      said he was going to replace someone on one of the

20      committees, and I come up here and try to make that not

21      happen.   He's not only my friends, we disagree once in a

22      while.

23            So as this went on, we prevented that from

24      happening.    Your Honor was very wise and agreed to leave

25      the Haars on the case, and I saw right.         Then I come
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 1      back, and I got a slap across my face.         Not only did

 2      Mr. Southway got on the committee, his wife, one of

 3      their partners got on the committee, from New Jersey.

 4      And I have had 60 years of experience in this, problems

 5      in the dairy business, and working with Mr. Bunting on

 6      this case to get it started, and, your Honor, you --

 7      respectful to you, you appointed this committee of

 8      those -- those four people from New Jersey, and that

 9      turned the tide on the vote, and that was a mistake,

10      your Honor.

11            I don't want to -- but you don't make it

12      unbalanced.    You come in and get four people that I

13      considered didn't know anything about the case.

14      Mr. Southway knew some of the problems, but the other

15      ones, I never seen 'em to a meeting anywheres, whether

16      it's in Albany or it's in Texas or wherever we were, was

17      farm bureau and other things getting things done.

18      So let's leave that alone right there, but --

19                  THE COURT:    So we are coming --

20                  DOUGLAS RICKER:     Two other things I want to

21      make a short comment on.

22            I got a phone call one day.       They said, "Why don't

23      you call Minnesota and see if you're in or out on this

24      case."   So I called out to Minnesota.        They have no

25      record of me being involved with this case.          I never get
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 1      any letters involved with this case.         I have been

 2      through all this stuff of being ready for trial, and

 3      that's what happened.      But the thing about this case, it

 4      ain't worth the paper it's written on.         I mean true,

 5      honest.    I have been on our state board of agriculture

 6      in New Jersey, and I don't know if you know Mr. Phil

 7      Alampi, one of the most popular secretary of

 8      agriculture, goes way back, and he -- I been on bonding

 9      committees with him to get co-ops and independent

10      dealers in New Jersey bonded.       We got statutes set up

11      that you just can't throw someone out; you have to give

12      'em so many days before they can do that, but it's not

13      fair.

14              So I don't know whether, on this case, I'm in or

15      I'm out, but Mr. Eby -- if you don't resolve this and

16      let it go to court, Mr. Eby, which I have great respect

17      for, is going to -- they have opt out.         They were in on

18      the start, the whole thing, all over again, but the

19      thing that caused it to happen this way, when you go and

20      have a imbalance voting on the thing, that is --

21      your Honor, that is unfair.       All the years I put in, I

22      deserve more respect than that.

23              So Mr. Southway is still my friend.       My wife now

24      will be able tomorrow to take Mr. and Mrs. Southway's

25      daughter to a dairy princess seminar in New Jersey.
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 1      We're still going to be friends.        I am not going to hit

 2      him.     He is not going to hit me.     Right, Mr. Southway?

 3                   THE COURT:   Well, that's good, and we are

 4      coming up on Mr. Southway's time, so this is a good

 5      segue.

 6                   DOUGLAS RICKER:    Oh, God.

 7                   THE COURT:   All right.

 8                   DOUGLAS RIKCER:    I have 10 more minutes to

 9      speak, please?

10                   THE COURT:   No.   No, thank you.     Thank you

11      very much.

12                   DOUGLAS RICKER:    You're welcome.

13                   THE COURT:   Let's have Mr. Southway come

14      forward.

15                   PETER SOUTHWAY:    Good morning, your Honor.

16                   THE COURT:   Good morning.

17                   PETER SOUTHWAY:    Peter Southway,

18      S-o-u-t-h-w-a-y.

19             I wasn't quite prepared to have such an

20      introduction to your court today, but I got one.

21      However, I think what Doug says is actually very, very

22      important, and let me explain why it's important.

23             I'm here today on behalf of my wife and I, who were

24      appointed as additional class representatives.              She is a

25      little more comfortable on the farm with the grandkids,
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 1      so I am going to do the speaking.

 2            This hearing is really about equity for all of the

 3      class members.     I am an independent producer.       I was

 4      willing to testify against DFA and DMS in this case from

 5      the very beginning because of the antitrust issues that

 6      were in the case.     This case has morphed over time.

 7            My experience as 25-year commercial banker, I spent

 8      a lot of time with antitrust litigation in the

 9      MasterCard, Visa, American Express world, spent a lot of

10      time in federal court in Newark and New York City, so I

11      look at the case a lot differently, and what I have done

12      is try to take this case apart from the very beginning

13      to today as a class representative, what is provable,

14      what is winnable, and what is not.

15            And that's the important part for this case to be

16      analyzed, because if we can't prove it and win it at

17      trial, we really don't have anything.         So what I would

18      like to deal with is what are the known factors and what

19      are the unknown factors.

20            You know, we hear a lot about the monetary award in

21      this case.    At 50 million, farmers may get $4,000.

22      Well, if it was a hundred million, they'd get eight.            If

23      it was $150 million, maybe they'd get 12.          Because of

24      the large class, there's no big pot of gold for any

25      individual class member here.
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 1              So I think as when you analyze the monetary data of

 2      the settlement of this thing, it really does -- becomes

 3      not important, but it is an $80 million achievement.            I

 4      dare find anybody else who has brought a case in the

 5      Northeast that put $80 million back into the farmers'

 6      pool.    It's not a $10 coupon like a lot of typical

 7      class-action cases ended up to be.

 8              The second thing that's known and unknown is we

 9      look at the injunctive relief.        What's written in the

10      agreement, we know and we can read it.         And we need to

11      read it carefully.     For example, we just heard testimony

12      from an accountant who said that the advisory council

13      member doesn't have records of DMS.         It says right in

14      the agreement they have all the records of DMS and NEAC.

15      So you need to read carefully what the "and" means and

16      not make statements that really are not correct.

17              I also believe the advisory council and the farmer

18      ombudsperson are going to be under your authority

19      because you are going to sign this agreement if it goes

20      forward and it's settled.       I have asked our attorneys,

21      if we reach a point six months down the road, that we

22      can have an agreed discussion and find out if the

23      advisory council and ombudsperson are fulfilling their

24      obligations.    If they are not, they have agreed with me

25      that they will come back and we'll file a motion if we
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 1      have to because we believe that those positions are

 2      important.     We believe they can have far-reaching

 3      effects.     And I think it's important that the Court

 4      recognizes that and will also push forward the

 5      settlement.

 6              So I think the injunctive relief is substantial,

 7      it's brought coverage, it's court ordered.          The class

 8      representatives who are involved, the initial ones and

 9      the additional ones, have spent a lot of time, a lot of

10      phone calls, a lot of e-mails, a lot of discussions,

11      meetings in person to try to arrive to the product we

12      are at.     And I understand we don't come to an agreement.

13              What I have tried to do is say what are the

14      emotional issues and what are the factual issues in this

15      case.     And I can agree with -- Mr. Dilbert, is it?         The

16      first speaker today?

17                   THE COURT:   Dibbell.

18                   PETER SOUTHWAY:    It's a shame to see the dairy

19      industry go away, but you know what?         That's part of

20      America.     We have seen a lot industries go away.

21      Consolidation is here today.       I don't believe that this

22      case is going to resolve the consolidation issues of the

23      dairy industry.

24              When you look at proposals put up against DFA --

25      let's put 'em into receivership.        Well, I think their
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 1      creditors and their commercial paper people are going to

 2      be first in line in receivership and, wait a minute,

 3      we'll run the company.      And if their creditors are going

 4      to run the company, I don't think us dairy farmers are

 5      going to work out too well.

 6              Make 'em a for-profit company.      Let's think about

 7      that.    For-profit.   I was shareholder-driven

 8      organization, did it for 25 years, did all the SEC work.

 9      I know what shareholder-driven companies do.          We are

10      after shareholder profits.       Shareholder profits are

11      going to conflict with co-op profits.

12              Capper-Volstead was put in place so that dairy

13      farmers, farmers across this country, can enjoy the

14      immunity, and destroying that would be devastating not

15      only for dairy -- DFA in the Northeast -- and again, it

16      sounds like I am a DFA apologist, and I hate to say I am

17      not, but we have DFA members across this United States

18      of America that we would impact in this case if this

19      Court would say, boom, they no longer have co-op

20      exemption.    That would be horrible.       That would be a

21      wrong decision for us to even ask for, never mind for

22      the Court to do.

23              Back to the certainty issues:     milk testing,

24      adulterated milk, block-voting changes.         These are all

25      covered in this agreement in detail.         We have never had
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 1      that protection before, and I think that's important to

 2      recognize.    And by the way, a farmer does not have to

 3      know in advance what milk he wants to get tested.            The

 4      agreement says he can do it at any time if he thinks he

 5      is having a problem.      That's what the agreement says.

 6            I also think that, in closing, the organized

 7      opposition in this case was intent on trying to drive

 8      emotional issues, and emotional issues don't typically

 9      get solved well in a court of equity.         We need to focus

10      on what's fair for every member across the board.            And I

11      believe that the settlement we have brought forth here

12      is a fair settlement.      Is it a perfect settlement?        No.

13      Would we love to see more?       Yes.   But that's what

14      happens when you settle.       You get as much as you

15      possibly think you can against the risk of not accepting

16      it.   The risk of a trial, the risk of value limitations,

17      the risk of class decertification, the risk of appeals.

18      Long time before any money, if won, could ever be put

19      into a dairy farmer's pocket.       So I think it's time to

20      settle, and I believe that our role is to try to be as a

21      peacemaker.

22            I also would like to throw one other little thing

23      out there for people to think about.         You know, we have

24      had very experienced attorneys in this case.          I am

25      amazed at their resumés from a professional point of
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 1      view and what they have accomplished in other

 2      class-action cases, some of them incredibly well.             And I

 3      believe class-action lawyers are the answer to all prior

 4      abuse in the United States because they ultimately bear

 5      the burden of bringing abuse and settling it and stating

 6      the class is going forward.

 7              If these attorneys thought that they could win a

 8      3-, 4-, $500 million settlement, you think they are

 9      going to stand here and accept 20 percent, 30 percent of

10      the fees today?     So I bow a little bit to the expertise

11      that they represent at the table and say:          You know

12      what?     If they think this is where we ought to be, this

13      is where we ought to be because the evidence isn't there

14      to bring us further.      If it was there, I think they'd

15      like to be talking today about 30 percent of a $500

16      million settlement --

17              Sorry, Mr. Kuney.

18              -- rather than 20 percent of a $50 million

19      settlement.     So I think we just -- as dairy farmers, we

20      need to keep that in the back of our mind, that if our

21      attorneys are saying this is as far as we can go,

22      they're telling us that for a reason, not just because

23      they don't want to make money today.

24                   THE COURT:   Thank you.

25                   PETER SOUTHWAY:    Thank you.
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 1                   THE COURT:   William Olin.

 2                   WILLIAM OLIN:   Good morning, and thank you

 3      for the opportunity to speak.

 4              My name is William Olin, W-i-l-l-i-a-m O-l-i-n.

 5              I'm a dairy farmer in Nineveh, New York, a little

 6      bit east of Binghamton.      I have been since 1980.         My

 7      wife and I milk 57 cows at the present time.          During the

 8      time frame of the lawsuit we were between 125 and 155,

 9      but we downsized a year ago when I got too old.             Older.

10              I have been involved with Dairylea for my entire

11      life.    My dad was a Dairylea member.       We started our own

12      farm.    We were Dairylea members.      I am active in other

13      farm organizations and in our church.         Dairy farming is

14      the only job I ever wanted, and it's the only job I am

15      lucky to have ever had.      And I think it's time to settle

16      this lawsuit, and I'd like to address a few of the

17      things that are involved.

18              My observation of DMS:    Before DMS was formed, I

19      had three milk trucks going by my farm.         We had

20      Dairylea, we had one from DFA for a neighbor, and

21      another neighbor that was Crowley's.         And after DMS was

22      formed, one milk truck picked up all the milk, but the

23      three farms still got their milk check from their

24      original vendor that they were doing business with.               So

25      it has lowered the cost of assembling the milk, and I
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 1      think that's a benefit to us farmers.

 2            As far as block voting goes, I think that's

 3      absolutely necessary to marketing orders.          There's a lot

 4      of issues that need to have a decision made that are

 5      just administrative stuff, and you are not going to get

 6      farmers to take the time to go and cast their vote on

 7      mundane stuff, but they still had the opportunity, if

 8      they wish, to abstain or to oppose the cooperative's

 9      vote in the block vote.

10            As far as conspiring to lower prices, I think that

11      DFA has done the opposite.       They've paid a competitive

12      price to what my neighbors have gotten.         They have also

13      got premiums from processors for things like quality,

14      for things like rBST-free, some help on hauling.            So

15      there are -- that's extra money that comes into our pool

16      of money.

17            And in addition, Dairylea and DFA have programs to

18      help reduce the cost of producing the milk through sort

19      of a buying group kind of thing, so it doesn't matter

20      what your price of milk is, how high it is, if your cost

21      of producing milk is higher yet, you're not going to

22      make money.    We have ups and downs in milk prices.             Two

23      years ago, when we were getting $27 for milk, I didn't

24      hear anybody say, "Good job, DFA."

25            The cost of production of milk is not -- meeting
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 1      the production of milk is not DFA's job.          Their job is

 2      to market my milk, reliably and competitively, and I

 3      think they have done that.

 4            It is up to the members of DFA to choose the

 5      management and direction of our cooperative, not the

 6      court or not the outsiders, and I have been active all

 7      my life in cooperatives, and I have never been turned

 8      down in an effort to take part and express my opinion.

 9      There are some that won't be satisfied with any

10      settlement without doing maximum damage do DFA and, in a

11      good day, put them out of business, and I think that

12      would be a real shame.

13            There is no coercion here in getting me here.         I

14      much rather be home planting corn, but I feel strongly

15      that it's time to settle this lawsuit.         I am proud to be

16      a member of DFA.     Thank you.

17                  THE COURT:     All right.   Thank you.

18            Robert B. Jennison.      Roderick, sorry.

19            So, Roderick Jennison?

20                  JOSHUA HAAR:     Roderick Jennison happens to be

21      a neighbor of ours.      He was unable to attend today,

22      but --

23                  THE COURT:     Okay.   So I am going to have to go

24      to the next person, but you are coming up --

25                  JOSHUA HAAR:     I have here his signed witness
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 1      and attested proxy.

 2                   THE COURT:     Okay.     Well, he needs -- this is

 3      for appearing in person.       So how about we take you --

 4      you are going to be next.       We have 12 and 13 are Claudia

 5      and Jonathan Haar, and the next person will be David

 6      Ward then.

 7                   JOSHUA HAAR:     All right.

 8                   THE COURT:     Is David Ward here?

 9                   JONATHAN HAAR:     We have Dave Ward's proxy

10      also.

11                   THE COURT:     Okay.     So that will move us

12      through.

13              Do you have anybody else's so we will cross them

14      off the list?

15                   CLAUDIO HAAR:     Yes.     He has my proxy as well.

16                   THE COURT:     Okay.     And -- okay.   So let's have

17      Jonathan Haar.

18                   JONATHAN HAAR:     We will go with me first.

19                   CLAUDIA HAAR:     I'm sorry, what did you say?

20                   THE COURT:     Well, you told me he had your

21      proxy, David Ward's proxy and Roderick Jennison's proxy.

22                   CLAUDIA HAAR:     Yes, ma'am.

23                   THE COURT:     So that leads us to Jonathan Haar.

24                   CLAUDIA HAAR:     Okay.

25                   THE COURT:     If you want to speak yourself, you
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 1      can, but if he has got your proxy, that's the purpose of

 2      having him speak.     Okay.

 3                   CLAUDIA HAAR:    Absolutely.    The proxies are in

 4      this notebook, so just for functional -- functionality,

 5      Jonathan also has his exhibits in here as well.             So may

 6      I approach the bench?

 7                   THE COURT:   Sure.

 8                   JONATHAN HAAR:    Good morning, your Honor.

 9                   THE COURT:   Good morning.

10                   JONATHAN HAAR:    This is Jonathan Haar.        That's

11      H-a-a-r.

12              I want to apologize concerning the supplemental

13      briefs.     They're a little disheveled, our exhibits, I

14      guess we would call them.       If -- if it would be helpful

15      to the Court, we would request that we could rebrief

16      them.     We were planning on presenting oral explanation

17      of all of them, but obviously we can't do that in five

18      minutes, so we would make that request.

19              So let me just -- I will start with by way of

20      clarity with regards to the people who are my fellow DFA

21      members.     I am in no way disparaging them or my fellow

22      class representatives with whom I am standing in

23      opposition to them as well as the settlement.          I respect

24      their positions in their --

25              As I said in my second declaration, which is on the
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 1      docket -- my copy is not docketed, so I don't have the

 2      docket reference for that.

 3              I'd like to get sworn.

 4                   THE COURT:   Okay.   You may do so.

 5                   (Jonathan P. Haar was sworn.)

 6                   THE COURT:   Go ahead.

 7                   JONATHAN HAAR:    Okay.    I would like to speak

 8      to -- with regards to procedure.         I am going to state

 9      that Mr. Brent Johnson engaged in professional

10      misconduct in misrepresenting the facts of the law on --

11      toward the end of the negotiation process on a phone

12      call.    It was the Friday before Christmas, on or about

13      the Friday before Christmas.       He basically went on a

14      rant explaining to the -- all the class representatives

15      were on the phone at that point in time.          I'm not sure

16      if Mr. Taylor was there or not.         But to the best of my

17      knowledge, everyone was there.         And he explained the

18      relative merits of settlement over trial, and he said,

19      "If you go to trial, you will get no injunctive relief.

20      You will get nothing on full-supply agreements.             You'll

21      get nothing -- you won't get an ombudsperson.          You will

22      get nothing on milk testing.       You will get no relief.

23      You will get absolutely no relief.         You might get a

24      little more money, which all of you said you are not

25      interested in more money."
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 1              So I confronted him.     I said, "Excuse me.        You're

 2      wrong.    That's factually incorrect."

 3              He said, "No, you're wrong, but I am not going to

 4      convince you by arguing with you."

 5              So I said, "No, if I'm wrong, please explain to me

 6      how I'm wrong.     You have a responsibility there."          I

 7      said, "You have a prayer of relief in the complaint that

 8      clearly lays out and includes the caveat that the judge"

 9      -- your Honor in this case -- "could issue injunctive

10      relief as you see -- deem appropriate.         Furthermore,

11      injunctive relief issued at trial, they don't deal

12      with -- you would not deal with Mr. Kuney.          You would

13      look for remedy and that would be that."

14              So after representing that the -- we would lose at

15      trial -- and you have 150 opt-outs and -- led by Mike

16      Eby, that are pursuing the same claims with attorneys

17      that we have brought to this Court previously, so

18      there's apparently some merit to our antitrust claim.

19      So --

20              Yes, so -- after that call -- and this is all

21      documented in our e-mails, exhibits.

22              Oh, in addition, Mr. Foix and Mr. Dan Smith engaged

23      in the same misconduct.        I have shared with this Court

24      how I have been called to Madison County, my home

25      county, to serve jury duty, and the judge explained the
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 1      case before us and explained how all the evidence works

 2      and everything, and he said -- he -- the case was -- it

 3      was a burglary, but the person who had done the burglary

 4      was not the person on trial.       The person on trial never

 5      entered the building.      The person on trial simply drove

 6      the getaway car.

 7            Mr. Foix and Mr. Smith did not utter a word the

 8      whole time Mr. Brent Johnson ranted and raved about how

 9      there's nothing in -- in trial, and then this lie was

10      repeated by class representatives Southway, Aubertine,

11      those in support of the settlement, you know, there's

12      really -- this is the very best we can do because we

13      can't get anything at trial, or we'll only get very

14      little, or -- I feel misrepresenting, obviously

15      misrepresenting the prospects, you know, laying aside

16      whether you win or lose.       Obviously you could lose, and,

17      you know, that's a reality.       So.

18            See what else did I have.

19            Mr. Taylor references he wanted an audit.

20      Mr. Aubertine referenced the same thing, the ACM

21      specifically.     I was dealing mostly with the substance

22      of the settlement, but I felt that extremely important

23      to get that in.

24            So Mr. Taylor and Mr. Aubertine both represented

25      they wanted additional audits.          Mr. Genske spoke to the
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 1      item of the audit and the advisory committee person

 2      specifically denied the right to get an audit, no matter

 3      what the budget item or, you know, he couldn't use his

 4      limited budget to do a limited audit of a particular

 5      aspect of the business.      No audits, because an auditor

 6      would have a responsibility to report wrongdoing is what

 7      I realized later.

 8            In summary, there were a few things -- the reason

 9      the ombudsperson and the -- I don't mean to talk fast

10      but I have five minutes.

11            The reason the ombudsperson and the advisory

12      committee person came into being was because in the

13      Southeast, Mr. Foix, on a conversation, represented

14      that -- represented that there had been a committee

15      formed, an academic committee, a -- an academic chosen

16      by the defendants, an academic chosen by the plaintiffs

17      and an academic chosen by them, and that farmers could

18      bring information to that person, and -- and I asked,

19      "Is this a binding committee?"        Mr. Foix represented to

20      me that indeed it was binding because the defendants had

21      signed the agreement so they had agreed to abide by the

22      recommendation of the committee.

23            The way the defendants got out of any commitment

24      there is the money ran out with regards to notifying the

25      farmers, because I called one of the committee members.
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 1      He told me, "We never heard anything.         We never saw what

 2      they sent to the farmers.       I think they left the fox in

 3      charge of the hen house," was the quote.

 4              So -- so from that, I said, you know, this idea

 5      might have merit.     This might be a way that we can

 6      bring -- that we might be able to bring about change.

 7      That idea does not represent change as this settlement

 8      does not represent change, and you will hear and you

 9      have heard how this settlement is a step, a first step,

10      a beginning, a -- no, it's a settlement.          It closes the

11      door.

12              The caveat that they used in the Southeast to keep

13      information under file is the same one that's in this

14      existing settlement.      That's why the information in the

15      Southeast is -- to the best of my knowledge, that record

16      is mostly sealed because of the provision that

17      third-party members who are involved in these agreements

18      could represent that they don't want these agreements

19      disclosed.    So functionally, you're not going to get

20      disclosure.    And then --

21              Oh, the other thing was the milk testing.           I

22      represented -- you know, you had -- we had talked about

23      divesture.    I brought to you, and you will see in your

24      exhibit, the two little milk tubes.         Now, if they had

25      gone with the idea I represented, which is extremely
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 1      easy -- and it's Donna Hall's.        I'll give Donna Hall the

 2      credit.     It's extremely simple.     Send two sample tubes.

 3      You leave one at every farm, take that one label, run it

 4      over the top of the sample tube, and you -- you left

 5      that there.

 6              Now every farm every time I could create my own

 7      record of alleged wrongdoing or I could check it out and

 8      find out that, indeed, everything is fine.          If there's a

 9      spoiled load, I immediately have recourse.          You will

10      notice in the adulterated loads, the first caveat is,

11      well, if there's any sample remaining --

12              Now, bear in mind, this is a milk plant that's run

13      by milk supplied by the defendants.         They have a

14      compelling reason to make sure that there's no sample

15      left.     This whole settlement is based on we're relying

16      on the complete integrity of the defendants, and one of

17      my e-mails I really liked, I quoted Patrick Henry, that

18      "I have no teacher but history."

19              And they're in federal court coast to coast,

20      multiple cases.     Apparently there's some integrity issue

21      somewhere.

22                   THE COURT:   So you're almost out of time.

23      Just a couple more points.

24                   JONATHAN HAAR:    Yes.

25              So I mentioned milk testing, that to leave those
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 1      tubes in would destroy a lot of the control because, you

 2      know, then --

 3            So my summary of substance.

 4            This stuff is all in.

 5            I wrote -- toward the end of that binder there's 43

 6      pages.   They're handwritten.      Sorry about that.        And

 7      they are double-spaced, so it's not really that much

 8      writing, but --

 9            I am just trying to think if there's anything --

10            I represented about the important first step.

11      Professional misconduct.       Sorry to think out loud.

12                  THE COURT:    That's all right.

13                  JONATHAN HAAR:     And, again, my -- my second

14      declaration, which basically states, "In my declaration

15      I did not mean to -- I did not inform my fellow

16      DFA farmers or farmers that market their milk through

17      DMS are in collusion with regards to the antitrust

18      violations described in the complaint.         I respect these

19      farmers as colleagues and recognize their efforts on

20      their farms and for their organization.         I do not

21      question their honesty or the genuineness of their views

22      as expressed in their declarations; however, since DFA

23      and DMS have chosen not to open the record of the case

24      and keep the vast majority of the evidence confidential,

25      the declarants' opinions are uninformed by this
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 1      evidence.    I remain convinced that the declarants'

 2      position, in addition to the bias and incomplete

 3      information they have received from the management of

 4      DFA and DMS, taints their objectivity."

 5              You will note, your Honor, that actually in -- with

 6      regards to the opposition, the vast majority of farmers

 7      are actually the defendants.       They're members of the

 8      board of DMS we have heard from and, in addition,

 9      politicians.

10              You have in front of you today the classic dairy

11      problem.    You have bankers, lawyers and politicians and

12      processors, which I touch on all that in my -- in my

13      writing, standing before you telling you what dairy

14      farmers need.    And I'm encouraging you to listen to the

15      actual dairy farmers that are not delegates of the

16      organization.    As far as I know, these --

17              I will leave it there.    Thank you.

18                   THE COURT:   Okay.   Thank you.

19              David Galley.

20                   DAVID GALLEY:   Good morning, your Honor.

21                   THE COURT:   Good morning.

22                   DAVID GALLEY:   Thank you for the opportunity

23      to speak.

24                   THE COURT:   Would you just spell your last

25      name.    Yes, good.
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 1                  DAVID GALLEY:    My name is David Galley,

 2      G-a-l-l-e-y.

 3            Along with my wife, Kathy, and my daughter, Sonya,

 4      we comprise Silver Spoon Dairy, LLC, of Garrattsville,

 5      New York.    We formed an LLC with our daughter three

 6      years ago, three years after she graduated from Virginia

 7      Tech and worked elsewhere.       She has a keen interest in

 8      dairy cattle and has demonstrated a commitment to the

 9      future of our home farm.

10            We milk about 70 cows, ship roughly two million

11      pounds of milk a year.      Registered holstein herd, 26,000

12      pound herd average.      We raise all our own forage,

13      high-moisture corn as well as all replacement animals.

14      Through a comprehensive nutrient management plans and

15      precision feeding, we strive to employ the best

16      management practices available.

17            In addition to our farm business, my family and I

18      are very active in our community.        I serve as an elder

19      in our church, vice chairman of the town planning board

20      in addition to serving as the secretary of South New

21      Berlin Cooperative in South New Berlin, New York.

22            My wife is also active in church, 4-H county, the

23      state holstein groups, and our daughter is music

24      director of the church and very active in 4-H, Holstein

25      Association and dog agility training and competition.
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 1            To demonstrate my perspective, I would like to give

 2      you some background on how I have grown through the

 3      dairy industry.

 4            I began shipping milk in 1967, nearly 50 years ago,

 5      through a small local co-op called Rock Royal Co-op,

 6      which was affiliated with Net-co.        1972 I moved to my

 7      current location and joined Dairylea.

 8            In the early '80s, there were independent handlers

 9      aggressively canvassing for milk, and so I left Dairylea

10      and became an independent for a number of years.

11            1986, myself and a group of four others organized

12      the group co-op of 35 producers.        Our goal was to offer

13      a buyer consistent supply of quality milk located in a

14      geographic close and easily accessible area.          We were

15      very successful in obtaining over-order pricing and a

16      secure market for our milk.

17            We became affiliated with Allied Federated

18      Cooperatives in Canton, and as president of Butternut

19      Milk Group I served on the Allied board of directors.

20            In early 2001, our group, along with South New

21      Berlin and some others, lost confidence in Allied

22      management.    When our concerns were not addressed,

23      Butter Milk Group and South New Berlin both left Allied.

24      At the time, we dissolved the Butternut Milk Group, and

25      most of us joined the South New Berlin group.          I was
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 1      appointed to the board of directors, elected to serve as

 2      secretary, which I still am today.

 3            During my time in both groups, I have been involved

 4      in contract negotiations with handlers, and when we left

 5      Allied, that is the South New Berlin group, we were able

 6      to negotiate a successful three-year contract with a

 7      large handler.     We were not able to renew that contract

 8      at the end of three years, but we were able to, through

 9      DMS, market the milk through them with the same terms

10      with a five-year contract.       That was the beginning of

11      our marketing agreement with DMS, and the co-op has

12      remained with them today.

13            South New Berlin is an independent group that hires

14      its own fieldmen, general manager and hauler, with

15      contracts with DMS for a producer payroll.

16            During my tenure on the executive committee of

17      South New Berlin, I have been involved in all

18      negotiations and matters with DFA.        We meet with the DFA

19      representatives at least annually, or more often if

20      either party feels there's a need.        All matters have

21      always been settled in a way that have been equitable

22      and in the best interests of both parties.          We are very

23      concerned about having a stable market for our milk, and

24      DFA's been able to provide that stability.          Milk

25      marketing is much more complex than it was 30 years ago
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 1      when we organized our first small group.          South New

 2      Berlin is an example of successfully working together

 3      with DMS/DFA, and in today's milk-marketing climate, we

 4      don't feel that we are in a position to negotiate with

 5      large processing facilities nor to be on top of

 6      day-to-day handling of loads of milk.         We need the

 7      expertise and strength of a group like DMS/DFA to

 8      provide our marketing arm.

 9            Much has been brought to light through the

10      Northeast settlement, and February 15th, 2016, our board

11      of directors sent a letter to the U.S. District Court

12      supporting the settlement and asking to expedite the

13      decision.     The letter was sent clearly to indicate our

14      position of South New Berlin Cooperative, and that

15      letter, as well as our attendance today, is our

16      initiative and demonstrate our support.

17            My cost of being here today is expensive.             Getting

18      our corn planted and beginning hay crop harvest

19      determines the blueprint of our success the next 12

20      months.     Right now today would be a good time to be

21      planting corn.     Eric Lindberg, our cooperative

22      president, is here with me today, I think indicates how

23      valuable we feel the settlement is and that it should be

24      completed.     And we are here with full board support.

25            As an industry, dairymen and DFA need to move past
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 1      this, settle and strengthen our position to survive the

 2      current milk crisis.      Our South New Berlin Coop

 3      president, Eric Lindberg, and I have met with each of

 4      the board members and have their documented unanimous

 5      support in this position.

 6            We think the people that have been appointed by the

 7      Court to be involved with DFA and the settlement can

 8      only bring good things to light:        more people, more

 9      ideas, more integrity.

10            I thank you for the opportunity to speak again, and

11      I hope this brings a different perspective than many

12      others have.    Thank you.

13                  THE COURT:    Thank you.

14            Larry Burgin.

15                  LARRY BURGIN:    Good morning, your Honor.

16                  THE COURT:    Good morning.

17                  LARRY BURGIN:    And thank you for the

18      opportunity to speak today.

19            My name is Larry Burgin.      That's L-a-r-r-y

20      B-u-r-g-i-n.    I am a dairy farmer from Delhi, New York.

21      Our farm, Mushkoday Farm, is a family business with my

22      sons Jacob and John being the fifth generation to be

23      part of the farm.     It started in 1908 by my

24      great-grandparents, John and Jessie Burgin.          They milked

25      about a dozen cows.
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 1            Since that time our dairy has seen tremendous

 2      change.     Today we are currently milking around 160 cows,

 3      producing well over three million pounds of raw milk

 4      annually.     We also utilize some of the latest dairy

 5      production technology utilizing robotics.          It is

 6      inspiring for me to work on a farm and a family business

 7      with three generations working together as my father of

 8      80 years of age is still integrally involved with the

 9      daily activities of the farm.

10            It has been a privilege for me to be involved in

11      the dairy industry here in the Northeast for the last 36

12      years.    It has given my wife and myself the opportunity

13      to raise our five children in a rural, agricultural

14      environment in which they had daily activity -- or daily

15      responsibilities and activities.        This, I believe, is

16      something that has benefited them greatly as they have

17      grown into adulthood.

18            My wife, Ann, after our children have grown, is

19      currently a full-time substitute teacher at South

20      Kortright Central School.       I serve on the New York City

21      Water Shed Agricultural Council board of directors.           We

22      are also parishioners at St. Ann's Roman Catholic Church

23      in Andes, New York.

24            I wholeheartedly believe in the value of

25      cooperatives.     My family has belonged to a cooperative
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 1      for almost a hundred years.       My great-grandfather joined

 2      Dairylea as a member in 1929.       I also credit our farm's

 3      relative success to the united practices of a

 4      cooperative, and I believe that DFA and DMS are

 5      committed to marketing our milk every day of the year.

 6            Becoming a Dairylea member myself in 1980, I

 7      quickly realized the value of being part of a

 8      cooperative as a great way to become informed and

 9      educated on the milk industry here in the Northeast.

10      That being said, I always made it a point to develop a

11      relationship with my director and asked them lots of

12      questions.

13            In these last 36 years, I have never asked any

14      questions that I did not have answered to -- to my

15      satisfaction.     I can unequivocally say that as a member

16      and a delegate, being part of the -- part of Dairylea,

17      and now DFA, I was privy many times to the decisions

18      that the board of directors and the management team

19      made, and I can also unequivocally say that those

20      members' interests and those of the entire industry here

21      in the Northeast were always at the forefront of all

22      their business dealings.

23            I firmly believe there was no wrongdoing by DFA and

24      DMS at all.     The management of the cooperative always

25      has the best interests of the members as well as the
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 1      entire Northeast dairy industry in the front of their

 2      mind.    As such, I believe that by this settlement, it

 3      will allow DFA to put this lawsuit behind them and move

 4      forward to seek new business opportunities that will

 5      provide better returns for the members as well as

 6      strengthening the milk-marketing environment here in the

 7      Northeast for all of us.

 8              In my opinion, we face some very difficult

 9      marketing and pricing issues here in the Northeast, and

10      we need to, as farmers, utilize our cooperatives and

11      work closely with them now at all times to improve

12      returns back to the farm.       There is an acronym that we

13      have all heard before and that is TEAM -- together

14      everyone achieves more.

15              A good friend of mine worked tirelessly his whole

16      adult life to build bridges between people.          He always

17      told me that it was better for everyone involved to

18      build bridges rather than to tear one down.          In my

19      experience in this industry, when we all work together

20      as dairy farmers, members of a cooperative, we can do a

21      better job marketing our milk, hauling it more

22      efficiently, and obtaining greater returns back to the

23      farm.    This is one of the reasons why I support the

24      proposed settlement of this case.

25              I am very aware that some farmers oppose this
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 1      settlement and believe that having a trial will solve

 2      all of their problems.        To me, a trial is pointless when

 3      you consider all of the intricate details of milk

 4      marketing that would have to be discussed in court.

 5      Going to trial will not create new markets.          It will not

 6      obtain better pricing, and it will not reduce our

 7      hauling costs.     If this lawsuit continues, it will only

 8      breed more animosity amongst dairy farmers here in the

 9      Northeast and deny farmers the benefit of this

10      settlement.

11            A while ago I heard someone say that when one

12      segment of agriculture says something derogatory about

13      another segment of agriculture, nobody wins.          Everybody

14      loses.     If we as farmers continue to argue amongst

15      ourselves, we will continue to receive less than

16      potential that is available.        I support the proposed

17      settlement and recommend that the dairy industry work

18      together as a team to bring about real and positive

19      changes.     Thank you.

20                   THE COURT:     Thank you.

21            Patty Bikowsky.

22                   PATTY BIKOWSKY:     It's Patty Bikowsky,

23      P-a-t-t-y B-i-k-o-w-s-k-y.

24            My husband and I are dairy farmers on a farm in

25      Madison, New York.        We milk about 80 cows.    We have
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 1      raised our family there.       They have chosen to do other

 2      professions but still love to come back to the farm.

 3            I currently serve as a council member for the

 4      Northeast Dairy -- DFA -- Area Council.         I have been in

 5      that role for about 10 years.       Additionally, I serve on

 6      the New York Beef Council, the National Cattleman's Beef

 7      Board, and also the American Dairy Association and Dairy

 8      Council Promotion Board.

 9            I feel very strongly that the co-op is the way to

10      go for farmers to work together.        25 years ago I was an

11      independent.    Farmers like to be known as independent

12      themselves.    They like to run their own business.          They

13      like to be their own boss.       And here I was handing my

14      milk to an independent person who could do whatever he

15      wanted, make the profits he wanted, and the more I

16      thought about a co-op, the more I thought this is the

17      way I want to go because then I can have control.            I can

18      have a say in how the business is run.

19            So I joined the co-op, became a member.         Soon

20      realized I wanted to take a more active role, so I

21      became part of the resolutions committee.          That's the

22      part that farmers -- any farmers can bring any issues,

23      any problems, any changes that they want to a

24      resolutions member.      The resolutions committee gets

25      together, discusses it, decides what -- what they want
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 1      for their co-op, and that is passed and becomes part of

 2      the resolutions book.      So it is definitely a grass-roots

 3      effort.    I love that part of it.

 4            When I had the opportunity to become -- to run as a

 5      director, I jumped right at it.        I kind of like to have

 6      a say in things, and I like to speak my peace, but I

 7      like to also understand how things are run.

 8            I'm unique as I stand here because I'm the council

 9      member that represents the district that Jonathan and

10      Claudia Haar reside in.      I take my role seriously, and

11      the first time I met them was at -- we have summer

12      picnics and fall district meetings, and I met them

13      there.    They seemed to be very interested in the co-op.

14      We had a long discussion.       They said that they would

15      like to run as delegates, and I said, "Well, I can get

16      the information for you how to do it."

17            So in a return phone call I talked to them about

18      how to become a delegate.       You can nominate yourself.

19      You can nominate somebody else.        And then you -- as long

20      as the person that you nominated accepts it, you

21      become -- you are on the ballot and you can run for any

22      of the elected positions.

23            I expected that the Haars would do that at the next

24      election which was the next year, but they chose not to,

25      which surprised me.
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 1            So I have made sure that any member I speak to has

 2      that opportunity to become a representative, and if they

 3      don't want to, if they want to call me and get

 4      information -- there are newsletters sent out.              We try

 5      to be transparent in everything.        We -- there's no

 6      hidden secrets at our board meetings.         Some things are

 7      in executive session, but anything that pertains to the

 8      members that will help them out, we go out of our way to

 9      give that information.

10            I think this settlement will do an even better job,

11      though, with the two representatives that are -- you

12      were talking about.      Perhaps somebody doesn't get along

13      with their council member and they feel more comfortable

14      talking to someone else.       This will give them another

15      outlet, but it is all about transparency and

16      representation.     Frankly, sometimes I don't even get

17      enough people to fill my delegates' positions, and I

18      have to beg people to do this, but farmers are busy.

19      Like they say, we should all be planting corn, but we

20      felt it was important to come here and to speak and

21      encourage you to do the settlement as it stands.

22            I think that this has gone on for so long, it has

23      hindered DFA's ability to work on behalf of the members

24      effectively.    It's taken management time and energy away

25      from productive business that could actually help all
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 1      farmers.    It's made it harder for farmers to work

 2      together, and in today's milk-marketing environment, we

 3      need to all work together instead of against each other.

 4      So I urge you to please settle the lawsuit.          It needs to

 5      end, and we all need to get back to focusing on the

 6      things that matter:      working together to improve the

 7      livelihood of all dairy farmers.        Thank you.

 8                  THE COURT:    Thank you.

 9            William S. Moody.

10                  WILLIAM MOODY:     Good morning, your Honor.

11      I am William S. Moody, W-i-l-l-i-a-m S. M-o-o-d-y.

12            My family and I live in Delaware County, New York.

13      I am here to support the settlement of the case of Allen

14      versus the Dairy Farmers of America.

15            Our family has used cooperatives for many years,

16      ever since my grandfather joined Dairymen's League in

17      the mid 1920s, and we felt that's the best way to market

18      our milk.    We are currently members of Dairy Farmers of

19      America and have been since our former cooperative

20      joined with DFA.

21            We milk 60 cows on a grass-based system and it

22      works very well for us.      Our family of three children

23      grew up on our dairy and are still involved in the dairy

24      industry.    My daughter currently owns part of our dairy

25      farm and has cows in it, and we hope to continue the
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 1      fourth generation on our farm.

 2            Because of the small size of our dairy, we depend

 3      very heavily on DFA to provide us with services such as

 4      marketing our milk, getting us a fair price for our

 5      milk, guaranteeing payment for our milk, and providing

 6      us with many extra support services to lower the cost

 7      for our farm.

 8            DFA is a dairy farmer-owned cooperative.         All

 9      members have equity in DFA, and to continue this lawsuit

10      has the chance of costing the farmer members millions of

11      dollars against the equity in DFA.        This is one of the

12      reasons that I am supporting this current settlement.

13            I feel that DFA has always worked in my best

14      interests.    I have attended many local meetings to get

15      information and also to vote for DFA delegates and

16      directors at our local meetings.        The ballots are passed

17      out at our local meetings and counted by dairy farmer

18      members in a fair manner so that everybody that has

19      wanted to be a delegate or run for director of DFA has

20      gotten to do so.

21            I have actually been a participant in the process

22      of counting these ballots for different districts so

23      that I really don't know any of the members that were

24      running, and I can say that the directors and delegates

25      are all fairly elected by their farmer members.
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 1            I attended expanded Northeast board meetings where

 2      fairly large groups of farmers can get together and

 3      discuss any matter that -- of interest and actually

 4      interact with the directors and the staff of Northeast

 5      DHI -- or Northeast Dairy Farmers of America.

 6            I have been a national delegate and attended 13 of

 7      our 17 annual meetings and voted for corporate

 8      directors.    I am also a large user of DairyOne services

 9      for the technology they offer and believe they have a

10      great deal of integrity.       I have used DairyOne and the

11      former Northeast DHI for over 40 years to test my milk

12      and to provide me with management advice for my dairy.

13            I believe their milk-testing services are the best

14      in the dairy business and work with a great deal of

15      integrity.    My milk check has always been very clear to

16      me, and all of the deductions and premiums that I

17      received are broken down and explained on every milk

18      check.   And as to that point, for the last several

19      years, I have received an over-order premium based on

20      the quality of my milk, on not using rSBT {sic} on my

21      cows, and this has been a substantial -- on a small

22      dairy like ours, this has been a substantial extra

23      income for us.

24            I believe that this settlement is good and it will

25      provide extra oversight.       Our board and our council have
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 1      fairly large numbers of farms and another person will

 2      only add to the benefit of having an extra person take a

 3      look at the business we do and offer up advice.

 4            I believe the ombudsman will be a positive thing

 5      for many of the people that really don't understand all

 6      of the things that are going on in our dairy

 7      cooperative.

 8            For all these reasons, I believe this settlement

 9      should be finalized now.       Thank you.

10                   THE COURT:     Thank you.

11            Lisa Knapton.       Lisa Knapton.   No?

12                   LISA KNAPTON.     Lisa Knapton, K-n-a-p-t-o-n.

13            I am a first-generation dairy farmer from New

14      Hampshire.     I've raised my family -- excuse my voice.

15      I'm nervous -- raised my family on the farm there.

16            I wrote a letter in support of the settlement.

17      Although I understand the arguments of the other side

18      and the frustration, and -- I think from a

19      first-generation farmer perspective, we -- we're

20      planting genetically modified plants.           We are using

21      genomics to breed our animals.        We are milking our cows

22      with robotics.     But we aren't looking at our market

23      price, which is driven in part by policies which were

24      written in the '30s.       And I see this case as a

25      beginning.
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 1             Instead of looking back, I think we should be

 2      looking forward at reform, and I see this as a step in

 3      the right direction.      And that's all I have to say.

 4                  THE COURT:    All right.    Thank you.

 5             Reynard Hunt.

 6                  REYNARD HUNT:    Good morning.

 7                  THE COURT:    Good morning.

 8                  REYNARD HUNT:    It's Reynard, R-e-y-n-a-r-d

 9      H-u-n-t.

10                  AUDIENCE MEMBER:     Please speak into the mic.

11                  REYNARD HUNT:    And I am a subclass

12      representative for DFA and DMS subclass.          I support the

13      proposed settlement in this case.

14             I grew up on a dairy farm in New Jersey that had

15      been in the family since before the American Revolution.

16             From the time we sold our herd early -- in the

17      early '70s, I have raised dairy replacement heifers and

18      still do so today, and I do some crop farming.

19             I was a physical education teacher for 35 years,

20      and then I co-founded Spring House Dairy with Peter

21      Southway in 2003.      During that time, we kept

22      approximately 95 head of dairy cattle, and beginning in

23      around 2005, we started selling most of the milk through

24      DMS.

25             After selling my interest in the Spring House Dairy
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 1      in 2011, I operated my own dairy herd until August 2013,

 2      milked approximately 50 cows, and sold the milk through

 3      DMS.

 4             I -- as a class representative, I took my role very

 5      seriously, evaluated the litigation and settlement to

 6      the best of my abilities.       I had quite a few discussions

 7      with local farmers and some farmers out of the area, and

 8      as most everybody agreed, it's not a perfect settlement

 9      but most were in agreement that it was a good settlement

10      and it was necessary to make this settlement.

11             Weighing the risks of trial and appeals versus what

12      farmers are certainly receiving from this settlement,

13      concluded that the settlement was the best choice.          The

14      main decision was between continuing to fight the

15      defendants and head to trial or whether negotiate a

16      settlement, and I think the latter is the best course.

17      The settlement disregards -- resulted from these

18      negotiations is I think a good one, in my estimation,

19      and it's a good compromise for both sides.

20                  THE COURT:    Thank you.    We'll have one more

21      before the morning, and that -- I mean before our lunch

22      break, and that will be Tim Maxham.

23                  TIMOTHY MAXHAM:     Good morning, your Honor.

24                  THE COURT:    Good morning.

25                  TIMOTHY MAXHAM:     I guess we're about
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 1      halfway through, and there's some other members from St.

 2      Albans Co-op that are going to be after me, but luckily

 3      they get a chance to have a break before they come up.

 4                  THE COURT:    So let's just have your spelling

 5      of your last name for the record.

 6                  TIMOTHY MAXHAM:     Yes.   Timothy Maxham,

 7      M-a-x-h-a-m.

 8                  THE COURT:    Thank you.

 9                  TIMOTHY MAXHAM:     I am going to briefly go back

10      roughly a hundred years just to say St. Albans Co-op, up

11      in St. Albans, Vermont, was created back in 1919.            In

12      the year 1920, my mother was born, and it was stated

13      earlier this morning, you know, number of farms.            There

14      are roughly 25,000 farms in the state of Vermont.            By

15      the year 1950, we were down to 15,000 farms, and today,

16      in the year 2016, Vermont farmers are -- roughly

17      approximately 850 of us.       And so, you know, we all know

18      what's happening, but yet we are still producing food

19      and fiber around the country for expanded population.

20      We have our trials and tribulations, and we're

21      addressing one of those here today.

22            It's been a long process, and I'm here to speak in

23      favor of the settlement.       I think it's gone on long

24      enough.   It wasn't settled completely the first time

25      around, and there has been stated earlier there have
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 1      been updates to that to make more protection for some of

 2      the people that were looking and considered some

 3      inequities in the market system and how we operate.

 4              I have seen a lot of changes since I was born in

 5      1953, and I was born on a small dairy farm in

 6      Morrisville, Vermont, and I think I had milk in my blood

 7      veins because it's all I ever wanted to do was be a

 8      dairy farmer.

 9              In the late '50s, you know, a lot of changes that

10      we have seen progress, and it started, you know, it -- I

11      can still remember my mother and father milking into the

12      milk cans.    And about the late 1950s there was a push,

13      United Farmers Co-op, I believe at the time we were

14      involved with, you know, bulk tanks and updating.                 We

15      did put in a bulk tank at that time.         I remember, you

16      know, remodeling the farm, probably a couple old horse

17      stalls that we took out and put in a bulk tank.

18              Unfortunately, two or three years later, cows were

19      sold.    I didn't have anything to say about it.            But

20      that's the way it goes.      We seen that attrition, and we

21      can't say the marketplace has always driven it, you

22      know.    It's been other things that made the economics

23      unviable for farmers to continue or they reached an age

24      and they couldn't pass it on, as some people have stated

25      here, that they have -- the farm has gone, come down in
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 1      the family in generations.

 2            So I lost my opportunity to farm the family farm.

 3      My parents and I, and my other siblings, moved to South

 4      Hero, which is in Grand Isle County, on beautiful Lake

 5      Champlain, just 25 miles away from here, in 1966.

 6            In 1967, at the age of 13, I started working for a

 7      neighbor farm and worked there for 10 years through high

 8      school, put myself through two years of tech college at

 9      Vermont -- VTC in Randolph, went back to the farm and

10      continued working there until 1977, and I decided it was

11      time to stretch out and operate it myself.

12            There was a neighbor farm that had gone out earlier

13      and barn was vacant.      I asked him if I could rent the

14      place, and so I'm coming up on the anniversary Memorial

15      Day weekend 1977.     I was a member of the St. Albans

16      Co-op.    I paid my dollar to buy a share, and I became an

17      operating member of St. Albans Co-op.

18            Over the years, we have seen things continually

19      change.    Shortly previous to that, Grand Isle -- several

20      towns, Grand Isle Creamery, they decided to disband or

21      join with St. Albans Co-op.       They did so.     Shortly after

22      that, there were some other smaller co-ops that decided

23      that they needed to make a change, and they changed and

24      joined with St. Albans Co-op.

25            Over the years we saw some membership grow.           St.
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 1      Albans Co-op basically was just Franklin County.            Now we

 2      have members in New Hampshire, all of northern Vermont,

 3      and some over in New York.       We have had to expand to

 4      stay viable and offer the services for the farmers to

 5      compete and market their milk.

 6            One of the reasons that I think it's time for the

 7      settlement to be made and continue on, as has been

 8      expressed earlier here, you know, I kind of get up in

 9      the morning and there's only so much I can do in a

10      24-hour period.     Sometimes it's kind of cut and dried;

11      other times we have issues that we want to take care of

12      and certain circumstances that come about that it just

13      doesn't allow it.     You're out making hay and it rains,

14      you're all done.     We talked about planting corn.         We

15      don't usually get it done in a day, but we usually get

16      it done.    But when something like this has taken this

17      long -- and we all know that the wheels of justice

18      sometimes turn slow, and we need to continue and move on

19      and look forward, and one of the things -- a couple of

20      things:    Why am I a co-op member?

21            I guess at the time it probably -- there weren't

22      too many alternatives, but I have been a strong

23      supporter of the co-op ever since I joined.          I know my

24      board of directors.      I know management.     I am only 30

25      miles away from the plant.       I don't have to worry about
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 1      marketing my milk.     It's taken care of.      I receive a

 2      milk check.    As talked about, we receive premiums on

 3      qualities and that type of thing.        And I just want to

 4      relate that balancing milk and taking care of it, you

 5      know, 365 days a years, individually I can't do that,

 6      and I know the runnings of co-op and marketing milk and

 7      taking care of a perishable product.         When a lot of

 8      times our customer, the co-op customer, is closed for

 9      the weekend or long holidays, the use of milk goes down,

10      somehow that product is taken care of.

11            And we have a co-op member in Lamoille County, in

12      the town of Morrisville where I was born.          They

13      operate a -- probably a small, medium-sized farm, but

14      they have personally gotten into value-added product.

15      They produce cheese on the farm.        And talking with a

16      fellow there one day, he says, "Well, we probably

17      produce cheese two or three days a week.          We probably

18      take 600 pounds of milk."       I don't know how much milk

19      they are milking, but -- or making, but they have to

20      have an avenue for the rest of that product.          They don't

21      have to worry about it because the milk truck is picking

22      up their milk every day.       They're able to do what they

23      want to do in trying to create a market for small amount

24      of it, make a value-added product and make some extra

25      income.
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 1                   THE COURT:    So we are right about at your

 2      time.    A couple last thoughts?

 3                   TIMOTHY MAXHAM:    Okay.   The other thing is

 4      that I have been involved in town government for a long

 5      time.    Your Honor, you're familiar with Vermont so, you

 6      know, town meeting.       I have been town moderator for 30

 7      years in the town of South Hero, and there's only so

 8      much business we can take care of in a day.          We have an

 9      agenda, and we take care of things.         And also, we

10      operate on Roberts Rules of Order, and, you know, some

11      questions, they require larger percentage to move on to

12      certain things, and some of those, you know, require

13      two-thirds vote consideration.

14              As I understand it, we had six plaintiffs.           It was

15      increased to nine.     We have six of those that are in

16      favor of the settlement.       We are at that magic number of

17      two-thirds.    Let's settle the question and move on to

18      greater things and look forward to the future.              Thank

19      you.

20                   THE COURT:    All right.   Thank you.

21              We will take our noon break at this time, and we'll

22      come back at one o'clock.       You shouldn't leave things in

23      the courtroom when you exit, and I understand Clement

24      Gervais might have to leave early, so you are actually

25      number four when we come back, so I think we should be
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 1      able to get to you, but you might want to talk to the

 2      people ahead of you if that isn't going to work for you.

 3            And anything from counsel before we take our break?

 4                  MR. PIERSON:     No, your Honor.    Thank you.

 5                  MR. KUNEY:     Not here, your Honor.

 6      (Court was in recess at 12:00 p.m.)

 7      (The following was held in open court at 1:10 p.m.)

 8                  THE COURT:     We are back on the record in Alice

 9      Allen versus Dairy Farmers of America, and we are in our

10      fairness hearing.     And the next speaker is Patrick

11      Howrigan.

12                  PATRICK HOWRIGAN:     You want the spelling on

13      the name?

14                  THE COURT:     Yes, please.

15                  PATRICK HOWRIGAN:     H-o-w-r-i-g-a-n.

16            Good afternoon.

17                  THE COURT:     Good afternoon.

18                  PATRICK HOWRIGAN:     My name is Patrick

19      Howrigan.    My wife, Paula, and I have been proud members

20      of the St. Albans Co-op since 1977.         My two sons

21      represent seventh-generation dairymen in Franklin

22      County, Vermont.

23            I believe that myself and my fellow dairymen can

24      accomplish more when we work together than we can

25      working alone.     Our board of directors, management and
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 1      staff are open, accessible and helpful to explain if we

 2      have any concerns.     I am confident that when our

 3      directors put their boots on in the morning, they face

 4      the same concerns for their families and farm management

 5      as we do.

 6            St. Albans Co-op has a long tradition of helping

 7      membership with financial programs to assist with

 8      purchasing supplies like fertilizer, seed, feed, and

 9      storage supplies.     These programs are available to all

10      members and we can all benefit.

11            When St. Albans Co-op became members of Dairy

12      Farmers of America and DMS, it was a good move for our

13      patrons.     We now have the benefit of financial strength

14      that we can deal with larger customers.         We can work

15      together to service markets that would have been beyond

16      our reach.     We now have hauling advantages that can help

17      produce premiums for our membership.         DMS has the

18      ability to send the closest milk available to the

19      nearest market.     Instead of competing relationships for

20      market share, we now work together to benefit us, the

21      farmer owners.

22            We at St. Albans have made a major financial

23      investment in our production facilities.          We now have

24      the capacity to service milk in the Northeast while also

25      contributing as team players.       Our relationship with DFA
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 1      and DMS requires major trust of all involved.          The

 2      settlement in Allen versus Dairy Farmers of America is

 3      good for all.     This settlement provides a structure to

 4      protect and guard this trust.       It will protect and

 5      provide a solid voice for our member dairy farmers.          The

 6      settlement will provide the legal outline to solve

 7      problems and build trust as we move forward.          I support

 8      the settlement.     I would believe it will be good for our

 9      family and good for my fellow dairymen.

10            I feel the Court did a good job of explaining the

11      new aspects of the settlement which includes significant

12      elements that could really benefit the dairy industry.

13      The concept of having a farmer ombudsman is very

14      compelling to me.     It could go a long way in giving

15      dairy farmers a new type of mediation mechanism as well

16      as additional peace of mind that DFA and DMS are

17      conducting business in the best interests of the dairy

18      farmer members.

19            The advisory council member will also provide

20      benefit.    There will be an additional advocate for

21      farmers and through this role could suggest new ideas to

22      DFA and DMS to improve dairy farmers' bottom line.

23      Overall, these new positions will go a long way in

24      demonstrating and verifying transparency and respect

25      within DFA and DMS.
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 1            In addition to the new positions listed above there

 2      and other benefits to the settlement agreement, the

 3      financial-disclosure and milk-testing provisions should

 4      provide additional assurance to dairy farmers.

 5            Finally, I believe the theme of this settlement is

 6      to continue to grow trust and respect between DFA/DMS

 7      and the dairy farmer members.       All the protections

 8      included in the settlement go a long way towards

 9      achieving that goal.      I feel it is time to enforce the

10      settlement and allow it to be the voice of trust and

11      protection for our dairy farmers.        This settlement gives

12      us the tool box to protect and enhance that trust.

13      Thank you.

14                   THE COURT:     Thank you.

15            Bill Rowell.

16                   BILL ROWELL:     Good afternoon, your Honor.

17                   THE COURT:     Afternoon.

18                   BILL ROWELL:     My name is Bill Rowell,

19      R-o-w-e-l-l.

20            My brother, Ryan, and I operate Green Mountain

21      Dairy Farm in Franklin County, Vermont.         We are members

22      of the St. Albans Cooperative Creamery.         We milk 950

23      cows and receive quality awards for the milk we produce.

24      Last year our production exceeded 27 million pounds.

25            In an effort to raise the bar for agriculture, we
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 1      have hosted tours of our farm and digesture operation

 2      for more than 22,000 visitors over the past several

 3      years.     Our objective is to educate the consumer, show

 4      them where their food comes from, let them observe the

 5      routine practices on today's farm, and see firsthand how

 6      cattle are housed, fed and cared for.         It's been a big

 7      success.

 8            This August we will host Vermont Breakfast on the

 9      Farm, an event sponsored by the Agency of Agriculture

10      and the University Extension Service.         I have been on

11      the state board of advisers for University Extension for

12      the past six years.      We are told to expect a crowd of

13      more than 1,000 people.      Yet here today I can see those

14      efforts being overshadowed by negative press.          This

15      disturbs me.     It comes as a detriment to the image of

16      the dairy industry that we are trying to improve and to

17      our livelihood and every farmer here.

18            I believe that settling this matter would be in

19      everyone's better interests.       I did attend the previous

20      two hearings.     I would note that your seating in here is

21      much more comfortable with the cushions.

22            One of the two key words here today is cooperation.

23      The milk market is highly sensitive to pricing, product

24      quality, consumer confidence and/or public trust.

25      Presently U.S. agriculture finds itself at a real
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 1      disadvantage in the global marketplace.         The strength of

 2      the U.S. dollar alone creates an obstacle for

 3      competitive sales.

 4            In addition, the supply of milk currently exceeds

 5      market demand.     As a result, milk is being dumped for

 6      land application, another negative image for our

 7      industry.

 8            The proposed requirement of introducing new

 9      positions, ombudsman and advisory council member as part

10      of DFA's counsel, I find that to be highly positive and

11      it does several things of import.        First, it serves to

12      improve clarity by offering a direct link to

13      information.     Second, it creates a means of mediation to

14      resolve issues before they become a tumultuous problem.

15      Third, and key to the entire process, serves to increase

16      transparency.

17            I would also note that transparency lays bare the

18      responsibility of all parties involved, not just that of

19      the cooperative itself.      St. Albans and DFA have

20      achieved a good working relationship over the years,

21      something which has increased benefits to both

22      cooperatives and their producer members.          I would like

23      to see this relationship continue.

24            As members, we currently enjoy programs which

25      otherwise might not exist.       There are a number of
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 1      examples.    One is that of collaborating for market milk

 2      and maximize premiums rather than compete with each

 3      other for the markets.      Another recognizes

 4      transportation efficiencies.

 5            Since the revised settlement was served to promote

 6      a good working relationship between the cooperative and

 7      its producer members, I am hopeful that a settlement

 8      agreement can be reached today.         While some may think it

 9      fitting for the big corporation to pay, and by doing so

10      find that it serves justice, they would be failing to

11      recognize this as a burden shouldered by farmers, the

12      producer members of the cooperative.

13            $50 million settlement, there's no doubt that it

14      will take time for the industry to get beyond the

15      negative press resulting from this action.          Therefore, I

16      ask that you end it today and allow that work to begin.

17            My family has been in agriculture in this country

18      since 1637, and we have had to cooperate to get here

19      today.   We're going to have to cooperate to move forward

20      tomorrow.    Let's get started.

21                  THE COURT:     Thank you.

22                  BILL ROWELL:     Thank you.

23                  THE COURT:     Wayne Hurtubise.

24                  WAYNE HURTUBISE:     Thank you, your Honor,

25      for allowing me to speak.       My name is Wayne Hurtubise,
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 1      H-u-r-t-u-b-i-s-e.

 2            I own and operate a dairy farm in Richford,

 3      Vermont, which is in Franklin County, with my two

 4      brothers, a son, and nephews, which are the fourth

 5      generation on this farm.       We milk 800 cows.     We market

 6      24 million pounds of milk a year.        We have been a member

 7      of St. Albans Co-op since 1982, which is a

 8      member-governed cooperative committed to providing

 9      service, stable markets, and the greatest return in

10      profits to our members.

11            I am here today on my own accord to explain why I

12      am in support of the Northeast Dairy lawsuit settlement.

13      Working with DFA/DMS gives the St. Albans Co-op members

14      security -- security, excuse me, with large milk

15      customers in maximizing premiums versus competing for

16      markets against them.

17            The key aspects about this settlement are:

18            The farmer ombudsperson who will listen and

19      investigate any farmer's disputes between DFA and DMS.

20            An advisory council member, which will allow --

21      which will -- excuse me, advocate for farmers with DFA

22      and DMS and promote better pay prices, net income, and

23      enhance equity for them.

24            Milk tested.    For the next 10 years, DFA and DMS

25      will not acquire a controlling interest in the
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 1      milk-testing company its farmers use, which is DairyOne.

 2      In addition, any concerns regarding milk-testing

 3      accuracy will be brought forth to the farmer

 4      ombudsperson who will attempt to mediate any disputes.

 5            Adulterated milk, which is farmer's milk found

 6      unacceptable for milk processing plants.          DFA and DMS

 7      will notify the affected farmer within three hours.             At

 8      farmer's request, testing will be done at an independent

 9      laboratory.

10            These provisions are all changes from the original

11      settlement which will provide added assurance that DFA

12      and DMS are serving in the best interests of their

13      members.

14            In closing, it would take a considerable amount of

15      time for me to explain all the benefits and member

16      programs that has helped our farm in the 36 years we

17      have been with the St. Albans Co-op.         I believe that

18      this settlement is fair and see no need to go to trial.

19      Thank you.

20                   THE COURT:   Thank you.

21            Clement Gervais.

22                   CLEMENT GERVAIS:    Thank you.    My name is

23      Clement Gervais, G-e-r-v-a-i-s, and I am in support of

24      the settlement.

25            I farm in Bakersfield, Vermont, with three
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 1      brothers, one niece, and my parents.         My family milks

 2      around 1800 cows which produce approximately 50 million

 3      pounds of milk a year.      My father started farming in

 4      Bakersfield in 1960, and in 2013 we had the honor of

 5      being named Vermont Dairy Farm of the Year.

 6            I am a member of the -- I am a member of the

 7      independent St. Albans Cooperative Creamery and have

 8      been for over 30 years.      There are a few reasons I

 9      choose to ship my milk to St. Albans Co-op.          I have

10      always enjoyed the transparency of our co-op.          My family

11      has always been able to talk to the staff, the CEO, or

12      any of the farmer directors whenever we need to.             One

13      example of this is any time our farm has had questions

14      about a quality test or solids test that could affect

15      our pay price, staff has always listened to our concerns

16      and retested to ensure accuracy.

17            Oftentimes my busy schedule does not allow me or

18      many other farmers to be involved or kept up to date on

19      important issues.     The St. Albans Co-op has always been

20      a consistent and fair voice for its farmers.          Whether it

21      is for rule or policy changes in our industry or any

22      potential concerns for its farmers, I have always

23      appreciated this fair representation.

24            The St. Albans Co-op is absolutely essential to my

25      family's success at producing and selling milk.             I rely
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 1      on my co-op to market my milk and to do so profitably.

 2      Milk co-ops are farmer owned so if we do not find a

 3      profitable home to our milk, then all of its farmers

 4      lose money.

 5            St. Albans has worked with DFA and DMS to gain

 6      efficiencies in the collection, handling and balancing

 7      of our milk.    This relationship is a positive one to

 8      gain trucking efficiencies as well as improving the

 9      balancing of our milk.      At times such as now, when our

10      milk shed has extra milk, we do not undercut each other

11      to find a home.     That would only lower the sell price

12      more hurting what the dairy farmers actually get paid.

13            I would like to mention a few of the reasons I

14      support this settlement.       I really like the idea of

15      adding a farmer ombudsperson.       This will give more

16      trust, transparency, as well as a way to improve

17      communications.     The advisory council member will also

18      create a valuable mechanism to mediate any concerns.

19            I feel the settlement is not an end; it is the

20      beginning of better communication that will benefit all

21      the farmers.    I also like the new milk-testing

22      provisions.    All farmers get paid according to the fat

23      and protein tests of our milk.        Additional testing will

24      help ensure that our farmers are getting paid fairly.

25            Another reason for supporting this settlement is to
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 1      secure my co-op's financial responsibilities.          In the

 2      last couple of years, I have been part of the St. Albans

 3      Co-op equity committee.      Part of this committee's

 4      responsibility is to make sure the co-op has a strong

 5      equity position.      This will enable us to grow or

 6      diversify when it's profitable for its farmers.

 7            St. Albans' financial responsibility for paying

 8      forth this settlement is an unknown amount unless the

 9      settlement is approved.

10            The last reason for supporting this settlement is

11      to avoid additional attorneys' fees.         If not settled,

12      the extra costs for attorneys will only hurt all

13      farmers.    It's time to settle this lawsuit so we can

14      concentrate on the many important financial needs to

15      ensure a strong co-op and successful farmers in it.

16            I want to thank you for your time and the

17      opportunity to speak today and hope you consider my

18      views to approve this settlement.

19                  THE COURT:    Thank you.

20            Paul Stanley.

21                  PAUL STANLEY:    Good afternoon.

22                  THE COURT:    Good afternoon.

23                  PAUL STANLEY:    My name is Paul Stanley,

24      P-a-u-l S-t-a-n-l-e-y.

25            And, your Honor, I know that I cannot wear a hat in
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 1      this courtroom, but I would like to use this as a prop

 2      because any good farmer, dairy farmer, cannot go out of

 3      the barn without his hat.       And I'd also like to add and

 4      point out that there's a Jersey cow on this hat.            She is

 5      one of the nine million plus cows that we have in this

 6      country, and I believe, and my colleagues know what I'm

 7      going to say, with St. Albans Co-op, that what she

 8      produces represents what we need to be producing to sell

 9      our product and get out of the bind that we're in with

10      our surplus, and that is high components in our dairy

11      products.

12            And getting to the reason that we're here today:

13      I, like Clement, live in Bakersfield, Vermont, with my

14      wife, who runs a 30-cow dairy farm with my daughter, who

15      works off the farm; and our 60 registered Jersey and

16      heifers produce a high-component milk that is shipped to

17      St. Albans Cooperative Creamery, which we have done

18      since our dairy was established in 1985.

19            Paulin Dairy was designed to operate with an

20      off-farm income, which dairies of this size typically

21      must rely on.    One of my off-farm incomes was acting as

22      a dairy inspector with the State of Massachusetts,

23      giving me much insight into the fluid milk marketing in

24      the Northeast Federal Market Order.

25            The lawsuit of Allen versus Dairy Farmers of
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 1      America, Dairy Marketing Service, needs to be settled,

 2      period.   And I repeat, it needs to be settled.             And,

 3      your Honor, in listening to the comments, we always have

 4      a take-home message, and I hope that the take-home

 5      message that you are hearing today from the folks that

 6      are testifying is the settlement of this suit.

 7            As the suit drags on, it is also dragging our

 8      milk-marketing abilities down with it.         It is

 9      essentially a fight among dairy farmers for a fluid

10      market we no longer have in the Northeast Order.              This

11      has pushed more of the milk produced into this order, to

12      the Class IV milk powder market, which is very low

13      return to the dairy industry and is only a place to

14      dispose of milk we do not have a market for in the

15      Northeast or the U.S.      This pushes the milk plant

16      capacity to the point where milk has to be disposed of

17      in our on-farm nutrient cycling systems.

18            The settlement of this lawsuit would allow St.

19      Albans Cooperative and the rest of the Northeast, the

20      national milk market, to move forward with some

21      innovative, out-of-the-box ways to market our milk.

22            If only half the time and money that has been spent

23      on this lawsuit were put toward marketing and promoting

24      our dairy products, we would not have the oversupply of

25      milk that we have in the marketplace today.            Instead, we
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 1      would have healthier people living on a healthier

 2      planet.

 3            Thank you for your time and consideration.

 4                  THE COURT:     Thank you.

 5            Bryan Davis.

 6                  BRYAN DAVIS:     Good afternoon, your Honor.

 7                  THE COURT:     Good afternoon.

 8                  BRYAN DAVIS:     My name is Bryan Davis,

 9      B-r-y-a-n D-a-v-i-s.

10            I want to start off by thanking you for giving me

11      the opportunity to testify in your courtroom today.         I

12      have never testified in court before, or anywhere else,

13      as a matter of fact, so please bear with me.

14            Our farm is located in Derby, Vermont, which is

15      located directly on the Canadian border in northern

16      Vermont.    That part of the state is also referred to as

17      the Northeast Kingdom.      I farm with my wife, a son,

18      daughter-in-law, and I just had my first grandson born

19      five months ago.     He will be the fourth generation on

20      our farm.

21            We milk 135 cows and produce about three million

22      pounds of milk a year.      We also raise the same number of

23      replacement stock.     We also tap 4500 maple trees, and

24      we're just coming off the best season we have ever had

25      in the 60-year history of our maple business.
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 1              I have read the proposed settlement, and I want to

 2      thank all the parties involved.        You can tell they put a

 3      tremendous amount of faith, effort and thought into it.

 4              Almost 40 years ago my father and mother helped me

 5      buy the neighbor's farm.       My dad was always a member of

 6      a co-op.     He was even a director for Cabot Creamery for

 7      15 years before Agri-Mark bought the co-op.          I have been

 8      a co-op member myself for my entire farming career,

 9      first at Cabot and now at St. Albans.         I switched to

10      St. Albans because I thought they were very transparent

11      and that the CEO and management team were only a phone

12      call away.

13              I was very fortunate 20 years ago.      I was elected a

14      director of St. Albans Co-op.       It's a position I still

15      hold.    I believe co-ops are a very important part of our

16      industry.     I belong to a co-op because it allows me to

17      sleep better at night knowing my milk is going to be

18      picked up in the morning and that I'm going to receive a

19      fair price for it.     I feel if I was an independent

20      producer and shipped directly to Dean Foods or Hood, I

21      would wonder and worry that I might receive a phone call

22      saying that they wouldn't need my milk this coming

23      weekend or over an upcoming holiday.

24              Back in the '80s, St. Albans Co-op was very

25      instrumental, along with others in the industry, in
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 1      establishing the Northeast Dairy Compact.          It was a

 2      pricing formula to help us with low prices that we were

 3      receiving back then.      It worked, and it was the envy of

 4      many other parts of the country.

 5            My question was, did Dean Foods or Hood help us get

 6      that pricing formula?      They did not.     It was co-ops made

 7      of dairy farmers, and that's what helped us get that

 8      Northeast Dairy Compact.

 9            Quick comment regarding the component the

10      milk-testing sampling in the settlement.          I have been on

11      the quality committee at the co-op, you know, St. Albans

12      Co-op, since I was elected, and I'm now chairman of the

13      quality committee, and all of those years I can only

14      remember two or three times where a member had a

15      complaint about milk testing, and once we brought those

16      producers to the table to meet with our quality

17      committee and the lab technicians, we didn't hear

18      another peep out of 'em.       We just needed to get them in

19      to the office, and we needed to educate 'em; just needed

20      to get 'em off the farm and educate them about the

21      process.

22            St. Albans Co-op has been a partner with DFA and

23      DMS for many years now.      I believe the partnership has

24      worked very well and has benefited the membership of

25      both organizations.      I think this lawsuit has been a sad
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 1      chapter in the lives of dairy farmers.          It has pitted

 2      dairy farmers against dairy farmers.          Every farmer --

 3      every dairy farmer across the U.S. is suffering right

 4      now due to our low milk prices.          I believe it is more

 5      important now than ever for dairy farmers to unite and

 6      work together, whether it's through our co-ops, National

 7      Milk, farm bureau or any other organization.          The time

 8      is upon us that we need to speak as one.

 9              I am very much in favor of this proposed

10      settlement, and I would like to ask the Court to support

11      it as well.

12                   THE COURT:     Thank you.

13                   BRYAN DAVIS:     Thank you.

14                   THE COURT:     Connie Menard.

15                   CONNIE MENARD:     Good afternoon,

16      your Honor.

17              I, like Bryan, have never testified before so

18      please bear with me also.       And I really want to thank

19      you for the opportunity to speak today.          I was very

20      excited to know that -- that I was allowed to do so.

21                   THE COURT:     If you just would spell your last

22      name.

23                   CONNIE MENARD:     Yes.   My name is Connie

24      Menard, M-e-n-a-r-d.

25                   THE COURT:     And I should just say for the
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 1      record, testimony is usually when you are under oath, so

 2      you are making comments.

 3                   CONNIE MENARD:    Okay.

 4                   THE COURT:   So anybody who is worried about

 5      testifying, don't -- doesn't need to worry about that

 6      because you are making comments, but you won't be

 7      considered testifying unless you are under oath.            Okay?

 8                   CONNIE MENARD:    Okay, thank you, your Honor.

 9      I have learned something today.

10              My family has a dairy farm in Moores, New York, and

11      we are members of St. Albans Cooperative Creamery, and

12      we have been just since 2006.       Before that, we belonged

13      to a cooperative that had decided to dissolve, and when

14      we began our search for a new cooperative, we had many

15      options available.     As a matter of fact, we were courted

16      quite heavily by several of the co-ops.         We chose

17      St. Albans because of the smaller side of the co-op, the

18      transparency of the management and the finances, and

19      also the equitable treatment of all of its members.

20              Your Honor, my husband and I began our farm in

21      1986.    Last year we hit a milestone as we became a

22      limited liability company, and we brought our son and

23      his wife into the business legally through lawyers and

24      everything.    Their children are -- my grandchildren are

25      the third generation on our family farm.          We have 85
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 1      milking cows and 75 young stock.        In today's standards,

 2      we would be considered a fairly small farm.

 3              Seven miles away, my brothers have a fairly large

 4      farm.    We work together occasionally for the good of

 5      both farms, and it helps us both to be more profitable.

 6      The size of their operation allows them to realize cost

 7      efficiencies and timeliness with field work that they

 8      pass on to us.

 9              I believe that the relationship between St. Albans

10      Cooperative, DFA and DMS are a lot like the relationship

11      our small farm has with the large farm.         Each remains

12      autonomous in their finances and leadership.          DFA opens

13      up marketing opportunities for us, and by working

14      together, we can serve our customers more efficiently,

15      therefore adding to our margins.        We are able to use our

16      new powder plant to its best capacity, and we

17      collaborate on milk hauling both from the farm and to

18      the customers.

19              There are benefits for their producers that they

20      make available to our producers as well.          Dairy

21      cooperatives are a great asset to producers, and when

22      cooperatives work together, everybody wins.

23              Your Honor, there are dairy producers that know

24      nothing about their co-op.       They do not ask questions.

25      They do not understand how a cooperative works or about
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 1      how their milk is marketed, and some farmers are okay

 2      with that.    They just want to farm and get a check and

 3      it is what it is.     I'll be honest with you.       I was in

 4      that position at one time.       When we purchased our farm

 5      we had a big fat debt and a young family, and I just had

 6      to farm, but it came a point in time when I realized

 7      there was part of the business that I needed to learn

 8      more.

 9              Some farmers feel that their cooperative is out of

10      reach.    Perhaps the only contact they have with their

11      cooperative is the man or person who picks up their

12      milk.    They may want to know more but they don't know to

13      ask or where to go for answers.        They may be afraid to

14      ask questions for fear of sounding ignorant or

15      accusatory.    They may be too shy to speak up at

16      meetings, or maybe they have asked questions at some

17      point but never really got a clear answer.

18              If these farmers had had someone to go to that was

19      easily accessible, an outside person whom they could

20      trust, maybe they would understand more how the co-op is

21      structured, how it is managed, feel more like it is a

22      part -- like they are a part of it, and get more

23      involved.

24              The suggested appointment of an ombudsperson as

25      proposed in this settlement would be a perfect fit for
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 1      farmers in this scenario.       They could go to this person

 2      to confirm or deny rumors that they heard and would

 3      hopefully realize that those who say the co-op is

 4      against them are wrong.       As their questions get answered

 5      and they become more comfortable within their

 6      organization, they will realize that the co-op is

 7      actually an extension of their own business.

 8              Another piece of this settlement that I appreciate

 9      is the addition of the advisory council member.              On our

10      farm is always a positive experience to have someone new

11      look at our operation, a fresh set of eyes and new ideas

12      to bring better plans and practices that could possibly

13      lead to more profit.      This position will bring value for

14      sure.

15              Our farm family believes in our cooperative.           We

16      have a deep trust and faith in the leadership and are

17      aware of how much it enhances our business.           I truly

18      believe that every dairy farmer should be able to

19      experience the same peace of mind.         Putting this

20      settlement behind us, along with the changes proposed,

21      will help to make this happen.        Thank you again,

22      your Honor.

23                   THE COURT:     Thank you.

24              Mark Magnan.

25                   MARK MAGNAN:     Good afternoon, your Honor.
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 1                   THE COURT:     Good afternoon.

 2                   MARK MAGNAN:    Thank you for the opportunity to

 3      be here.     My name is Mark Magnan, M-a-g-n-a-n.

 4            I farm in Fairfield and St. Albans, with three

 5      brothers and my parents.       I farm on a farm in Fairfield

 6      where my grandfather emigrated from Canada and my father

 7      was born in the farmhouse that we have today almost 90

 8      years ago.

 9            In talking to my father this morning, we were

10      talking about things that was going on today and what we

11      had to do.     Amongst planting corn and fixing fence, I

12      also stated I was coming to this hearing, to which he

13      almost interrupted me saying anything else, and he said,

14      "That should be front and center."         He said from what he

15      knows about it, people need to go to these and put this

16      behind us.

17            My father told me a couple of stories about when he

18      started farming.      He could relate back to the '30s, '40s

19      and '50s, and he said there was no communication with

20      their milk handler back then.        Today, as he knows, we

21      get production information from our co-op daily on our

22      iPhones, lab results, and many other programs that we as

23      dairy farmers can take part of.        My father was also one

24      of the driving forces behind me to becoming a director

25      of St. Albans Co-op.
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 1            As director of St. Albans Co-op, I am very proud of

 2      the work that we at St. Albans and DFA collaborate

 3      together with.     When we work together, such as getting

 4      market premiums out of the marketplace, it makes much

 5      more sense to go to milk buyers as one unified voice

 6      rather than two or multiple.        We can garner more

 7      premiums from the marketplace, and that is what --

 8      exactly what DMS does.

 9            We also gain efficiencies in transportation.           For

10      instance, if you have a DFA farm and a St. Albans farm

11      on the same road, we have come up with programs where

12      one truck will pick up both farms, even though they're

13      not a member of the same co-op, to save and garner

14      trucking efficiencies.       That means real returns for

15      dairy farmers.     This gives the independence to the

16      farmers.    They can still remain with whomever they are

17      loyal to, but yet we can gain efficiencies.

18            Building strengths helps build good relationships

19      with our customers as well.        They know -- farmers know

20      they can rely upon the co-op, and today that is exactly

21      what farmers need.      Thank you.

22                  THE COURT:    Thank you.

23            Tim Magnant.

24                  TIMOTHY MAGNANT:     Good afternoon,

25      your Honor.
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 1                   THE COURT:   Good afternoon.

 2                   TIMOTHY MAGNANT:    Thank you for the

 3      opportunity to speak.

 4            My name is Timothy Magnant, M-a-g-n-a-n-t.             I own a

 5      farm in the beautiful area up in northern Vermont,

 6      Franklin.    I border on the southwest side of the village

 7      which provides its challenges with -- I have to have a

 8      lot of community action to keep -- make my farm work

 9      with keeping the neighbors happy, and farming's

10      something I have enjoyed all my life.

11            I farm there with my wife, Martha, and my two

12      now-grown and moved-on daughters, Danielle and Desiree,

13      who grew up with the farm values which are very

14      important.

15            The one who told me -- taught me most of my farming

16      experience was my father who took Mark Magnan, the

17      previous speaker's -- he took my father's place on the

18      board of directors for the St. Albans Co-op.           And I

19      learned a lot about my co-op through my father.

20            They speak for us nationally.        They speak for us in

21      the state on policies, and they provide a lot of support

22      for our farmers other than milk marketing.          Whether it

23      be water quality issues or other issues, our co-op is

24      very important to us for being our voice and a big

25      voice.
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 1            One of the things that I've really appreciated is

 2      our co-op just put in a new dryer, redid the plant.             We

 3      haven't had a lot of investment in Franklin County or

 4      even Vermont for our industry.        Our board of directors,

 5      wise businessmen, were able to put us there, put the

 6      dryer in, make us -- for these times when they talk

 7      about the weekend milk, they can dry and powder it.

 8      They can move that milk.       Like they say, we have a safe

 9      market.

10            As far as our board of directors, whether it's the

11      co-op store, whether I meet Harold John or I meet Bryan

12      Davis or whoever, I can ask 'em        a question; they're

13      always front and center and allow me to speak to 'em and

14      give me advice or let me know what -- you know, what the

15      milk industry looks like or what's going on with our

16      co-op.    They will talk to us.

17            Our CEO, Leon Berthiaume, same way.         If you see

18      him, he's always open to you.        I think our -- I have had

19      good luck at being able to talk to 'em as farmers, as

20      co-op members.     They are always available to me.          I have

21      had an excellent experience.

22            I would be in favor of us settling this today.            I

23      think the ombudsperson is a good idea.          I think the

24      person on the advisory council could provide new ideas.

25      I think if we settle this, I think we can move forward.
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 1      I agree with the previous speakers that this is kind of

 2      a black eye for us.       We need to move on.     We need to do

 3      better PR and band together and work together.           Thank

 4      you for your time.

 5                   THE COURT:    Thank you.

 6              Harold Howrigan, Jr.

 7                   HAROLD HOWRIGAN, JR.:      Good afternoon,

 8      your Honor.     I'm Harold Howrigan, H-a-r-o-l-d

 9      H-o-w-r-i-g-a-n.      Thank you for allowing me the time to

10      provide comments today on this important issue.

11              I am a member of St. Albans Co-op Creamery.          Our

12      family has shipped milk to the St. Albans Co-op for over

13      40 years.     I farm with my brothers, Michael and

14      Lawrence, our wives, and my mom is still involved; and

15      my brothers and I have six sons that work with us on the

16      farm, and we have some girls too but they are not on the

17      farm.    We currently milk around 1200 cows, have an

18      additional 800 young stock.

19              While growing up on our family farm in the '60s and

20      '70s, our formative years, cooperative was a very

21      household word, one that we all realized the importance

22      and value of.     We sold our milk to the St. Albans Co-op,

23      and we sold our syrup to the Franklin County Maple

24      Co-op.    And in the 1980s, when our farm needed to grow

25      to accommodate our growing family, we turned to Yankee
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 1      Farm Credit, a financial institution with cooperative

 2      government and values.

 3            As diverse as these entities all were in the

 4      services they provided to our farm, their core

 5      principles that they operate on were all virtually

 6      identical.    They have boards of directors elected from

 7      their farmer member owners.        Their governance and

 8      oversight was provided by these farmers.          All the

 9      profits were either reinvested in their business or paid

10      out to their members in dividends.

11            In the early 1900s, it became imperative that dairy

12      farmers worked collectively to market their milk to

13      ensure that they had a fair price and that their milk

14      got picked up, period.       The dairy cooperative is an

15      extension of the farm or the farm's an extension of the

16      co-op, whichever way you look at it.         But at the end of

17      the day, the co-op puts all farmers on a level playing

18      field, large and small.       For one dollar, you can

19      purchase a voting common stock in St. Albans Co-op, and

20      with that dollar you can milk all the cows that your

21      heart desires.     And it also gives you access to milk

22      testing, hauling programs, seed and grain purchasing and

23      fertilizer financing, access to risk management advice.

24      And it goes on.

25            As the dairy industry transitioned into the 21st
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 1      century, milk production increased, the number of

 2      dairies decreased.      The milk market changed

 3      significantly also with the consolidation of markets and

 4      customer mergers.      Dairy co-ops' marketing options

 5      became fewer with more demands.        DMS was formed by

 6      farmer-owned co-ops to create some more efficiencies in

 7      the movement and marketing of milk and to help deal with

 8      these multinational corporations that were buying our

 9      milk markets, to commingle milk, to create efficiencies

10      in hauling, field personnel to name a few.

11            At this time we became affiliated with DFA at our

12      co-op, and I think it's probably one of the best things

13      we have ever done.      Instead of competing with them for

14      markets when milk was long, we're working with them in

15      markets to gain premiums and efficiencies wherever we

16      could.

17            As we gather here today at this fairness hearing

18      after seven years of litigation, I really think it's

19      time to approve this settlement and let the farmers and

20      their cooperatives and the industry move on to focus on

21      some positive and productive things that we need so

22      badly.

23            The new language in the proposal, along with the

24      advisory council member and the farmer ombudsperson,

25      will sufficiently address all the concerns that the
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 1      plaintiffs have raised over the course of this process.

 2      These new positions, in addition to all the current

 3      staff, should provide dairy farmers the assurance that

 4      DFA/DMS are serving the best interests of their dairy

 5      farmer member owners.

 6            It would be important for these new representatives

 7      to become versed on how milk is priced, the challenges

 8      and fluctuations of the markets, co-op margins, and

 9      their member milk components.        They all fluctuate

10      seasonal.    However, the most important part moving

11      forward would be in the communication, will still be on

12      the responsibility of the members to attend the

13      meetings, to read the newsletters, to build a

14      relationship with the co-op staff, the CEO or directors,

15      so that when they do have an issue, they'd feel

16      comfortable picking up the phone and calling, or if they

17      see 'em on the street or at church.         Just --

18      conversation is easy if you know somebody.            And if you

19      don't go there, you're always afraid just to ask a

20      simple question.

21            All this new language, access to financial

22      information, third-party testing, it will still take two

23      willing people to communicate efficiently and

24      effectively.     Our co-ops have always gone above and

25      beyond to help our members, whether it's split samples,
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 1      sample rechecks.      At our farm, we have 34 years running

 2      of top-quality milk, and we have had sample requests

 3      over the years, and most of the time when we thought our

 4      components were off, it was something to do with our

 5      feed efficiencies and the co-op was glad to help.

 6            Judge Reiss, I thank you again for this opportunity

 7      to speak, and after seven years, it's comforting to me

 8      to see that there is some positive things coming out of

 9      this hearing.     With an additional advisory person on the

10      board and a new set of eyes looking at things for a

11      different way and somebody to mediate the questions that

12      the members have, this has all gotta be good, and the

13      transparency that the whole process has brought forward.

14      Thank you.

15                   THE COURT:     Thank you.

16            Alice Allen.

17                   ALICE ALLEN:     Good afternoon, your Honor.

18                   THE COURT:     Good afternoon.

19                   ALICE ALLEN:     I'm Alice H. Allen, A-l-i-c-e H.

20      Allen, A-l-l-e-n.      It's a privilege to speak before you

21      today.

22            And my history of the dairy business is a long one.

23      I am not a second-generation farmer.          I am actually

24      first-generation.      My ancestors in Finland were dairy

25      farmers and my ancestors in Canada were dairy farmers.
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 1      I'm really the first one in this country, but my history

 2      of involvement with the dairy business goes back to my

 3      mentors.    I call them my uncles although they weren't my

 4      blood uncles.     They were the Watt Brothers, DM Watt and

 5      Sons, and they were producer dealers, and I milked cows

 6      for them while I was in college, and one of the first

 7      things they taught me was, "If you are going to go in

 8      the business, Alice, you can't just milk cows.           You have

 9      gotta market your milk.       You have gotta pay attention to

10      your market."     They really had to because they were

11      producer dealers.      They -- every bit of milk they made,

12      they bottled and sold.       And if they made too much milk

13      and it went into the pool, they lost a lot of money.

14            So they taught me very well, and when I went out on

15      my own, I bought heifers from them.         I milked cows for

16      them and they paid me in heifer calves.          And when I

17      started out on my own on a rented farm, I took their

18      advise seriously and I joined a co-op.          It was a small

19      marketing co-op, and I became very involved and was

20      later admitted to the board of directors, and once I was

21      on the board, they asked me to write their newsletter.

22      They never had a newsletter before.         So I started

23      writing their newsletter, and that was back in the '70s.

24            And early in the 1980s, there were a group of us

25      young farmers -- we were young then, not so young now --
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 1      and we formed a milk-marketing study group.           We were

 2      called the Young Farmers Milk Marketing Study Group, and

 3      that has evolved into the New Hampshire-Vermont Milk

 4      Marketing Study Group.       But we held meetings, and one of

 5      the things that we -- we noticed over the years, that we

 6      had really good participation when milk prices were low,

 7      but the participation sort of dwindled when prices got

 8      high.

 9              And, again, looking back to my uncles, my so-called

10      uncles, it was important that we advocate for farmers to

11      get involved, because we're all really good at making

12      milk and growing crops, but the biggest part of our

13      business should be in marketing, and that actually is

14      probably the essence of the problems here, that farmers

15      didn't get as involved as they should.

16              So here I am, being the named plaintiff in this

17      case, and my husband, Larry, is also a named plaintiff.

18      He's the brains behind the outfit.         I am the mouth.      And

19      I have to confess to your Honor that early in the game

20      of this case, I also was one of the angry class

21      representatives, and I was thinking that our attorneys

22      weren't doing what they should.        They weren't listening

23      to us.    And we knew all there was to know of the milk

24      business, and they weren't -- they weren't fighting for

25      us.
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 1             Then my husband, the smart one, said after a

 2      particularly angry phone call with other class reps, he

 3      said, "You guys know what is achievable through an

 4      antitrust class action litigation?"         Wow.   So we started

 5      the investigation, I guess you could call it, and I

 6      contacted my own personal lawyer in St. Johnsbury and

 7      asked him questions, and then I have a very good friend

 8      who is a retired lawyer from Washington, D.C., and asked

 9      him.   We started to learn that, gosh, what our attorneys

10      were doing was what they were supposed to be doing.

11      They were antitrust lawyers, and they knew their stuff.

12             Another thing that my lawyer in Vermont told me is

13      you couldn't find law firms in the state of Vermont or

14      New Hampshire that could do what these attorneys are

15      doing for you farmers.       So that was, I guess you could

16      call it, my epiphany.

17             So when we learned that our attorneys really were

18      working for us, instead of being angry with them and

19      arguing with them, Larry and I decided, well, we're

20      going to work with them, and we are going to ask

21      questions.    And I have to say that I pestered the

22      daylights out of them.       And they have been very kind all

23      the way along, answered my questions and then some.

24             And I feel that we owe a great debt to them, and I

25      will not say a word against the fees that they need to
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 1      get because they have earned it.         There's no other firm

 2      that I have been aware of that could take on the load

 3      that they took and be responsive to the criticism that

 4      they received and still do their job.

 5            And there was an interesting thing that I will add

 6      from the end of Vermont's legislative session this year.

 7      House Speaker Shap Smith made a comment that really

 8      struck me.    He said, "Criticism is vital to a

 9      functioning democracy."       Then he went on to say that

10      discussion and disagreement is a good thing, but there

11      comes a time when constant criticism and disagreement

12      becomes counterproductive.       And I think that may have

13      happened in this case.       And I agree that not all of us

14      will agree that this settlement is a good settlement,

15      but in my opinion, after having been involved in this

16      case from the beginning, and under the advice of my

17      long-dead uncles, I believe that what we have gained

18      through this settlement -- the farmers have talked about

19      the ombudsperson, and that to me personally is a very,

20      very important part of this injunctive relief, because

21      some of the Shire farmers or the farmers who maybe

22      aren't sure that they should ask a question, now there's

23      someone they can go to and they can get answers.

24            The advisory council person is also an extremely

25      person important.      These are things that we haven't had
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 1      before, and to just throw them out and say -- and

 2      marginalize them and say this isn't going do any good is

 3      really a shame because we worked very hard, and I think

 4      this is a new beginning.

 5            And the other thing that is very important to me

 6      is, when you look around the room and you see all the

 7      farmers that have taken time from their farms in a

 8      really busy crop season right now, to come and express

 9      their support or their opposition, it's important.           We

10      have engaged farmers.      They have become involved, and

11      that's a good thing because that is, in the future, the

12      only way we are going to have a positive impact, and

13      working together, it's difficult, it's very difficult,

14      and, again, functioning democracy needs criticism, but

15      we also need to work together.        And I think that this

16      settlement gives us an opportunity to move forward and

17      work together.     And there's a glut of milk all over the

18      world.    It's not just in this country.        And my husband

19      was also a milk hauler, so I got to see as a dairy

20      farmer and a milk hauler's wife what goes on when trying

21      to balance milk, and it's not -- it's not easy.

22            And I think some of these co-ops do a good job,

23      some do better than others, but I think it's something

24      farmers need to be made aware of that you need to have a

25      co-op board and co-op management that understands these
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 1      issues, and I am not saying that DFA has been saintly in

 2      all of this.     They have work to do, but this settlement

 3      would keep their feet to the fire.          There are now a lot

 4      more farmers that are paying attention, and that's what

 5      we need.

 6            And I thank you very much for the privilege and the

 7      honor of speaking to you today, your Honor.           Thank you

 8      very much.

 9                   THE COURT:     Thank you.

10            Robin Sweet.

11                   ROBIN SWEET:     Afternoon.

12                   THE COURT:     Good afternoon.

13                   ROBIN SWEET:     Robin, R O B I N; Sweet,

14      S-w-e-e-t, Senior.

15            I wanted to express my views about this settlement.

16      I have been -- I am on my fifth generation on the farm.

17      I farm with my wife and my son.          And I'm probably one of

18      the smallest farms speaking today, so.

19            I have served on the DFA Northeast Council for the

20      last nine years.      Before that I was a delegate.          And I

21      was kind of disappointed and upset with the plaintiffs

22      that think that we would sit there on the council and

23      look the other way while the co-op would take advantage

24      of the farmers and lower the base price.          I thought we

25      was all together on this, and I am in favor of settling
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 1      the lawsuit.

 2              I feel the money spent on the lawsuit could have

 3      been put to better use for product development and

 4      marketing to get a better price for the milk.           And it's

 5      dragged on for a long time, and it really should come to

 6      a close.

 7              Many of the provisions with the -- with the

 8      advisory council member and -- it would all be taken

 9      very seriously.     Being a small farmer, I was treated

10      just as good on the board as the large farms, and they

11      listened to me, and it could be a good way to get back

12      to the farms for information, more information, and it's

13      a lot more than it used to be.

14              Years ago, when I was farming with my father, we

15      have been through two or three different co-ops, and DFA

16      has been a lot more transparent than a lot of them have

17      been.    They just -- they're bigger.

18              And the ombudsman, it's a very important part.

19      Like I say, there's a lot of farmers that won't speak

20      up, don't come to the meetings, but if they feel they

21      have somebody they can talk to, it would be beneficial

22      and it would help 'em get along a little better, so.

23              With that, it's getting close to chore time, so I

24      will be short.     So thank you.

25                   THE COURT:   Thank you.
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 1            Heidi Dolloff.

 2                   HEIDI DOLLOFF:    Good afternoon, your Honor.

 3      I'm Heidi, H-e-i-d-i, Dolloff, D-o-l-l-o-f-f.

 4             Thank you for the opportunity to participate in

 5      this hearing today.      My name is Heidi Dolloff, and with

 6      my husband, Michael, and our two children -- Hannah

 7      who's 12 and Matthew who is 6 -- I operate a 75-cow

 8      dairy farm in Springfield, Vermont.

 9            Both my husband and I grew up on our family dairy

10      farms in New Hampshire, but due to circumstances beyond

11      our control, we did not have the opportunity to continue

12      farming them.     So due to our desire to continue farming,

13      we bought an empty farm in Springfield where we began

14      our dairy.

15            I am a 4-H club leader.       I serve as vice chair of

16      our state and regional promotion organization.           I have

17      been a past president of our county farm bureau, and I

18      have been a past board of trustee on the state farm

19      bureau.    I also serve on our county FSA committee, and I

20      am a DFA delegate.

21            In 2014, we received the honor of being named

22      Vermont's Dairy Farm of the Year.         I am here in support

23      of this settlement.      We produce about 1.8 million pounds

24      of raw milk annually that has been marketed through

25      Dairy Farmers of America since 2003 when we joined the
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 1      cooperative.

 2            From 1997, when we began farming in Springfield, to

 3      joining DFA in 2003, we were an independent farm.            As a

 4      small dairy, we faced many challenges dealing directly

 5      with the processors.      We found significant value in the

 6      DMS system, and because of the secure milk market and

 7      the stability we found in the DMS system, we chose to

 8      join DFA in 2003.      Not only did I like the equity

 9      structure of DFA, I felt that the cooperative had its

10      members' best interests in mind, and by taking the

11      business of marketing my milk off my plate, I am able to

12      focus on what I love to do:        ensuring good health of my

13      cows and producing high-quality milk.

14            I have never once worried about the business side

15      of things within DFA.      And since joining DFA, I am

16      confident of the abilities and appreciate the

17      transparent nature of the organization.          Multiple times

18      throughout the year I attend leadership conferences that

19      I have direct access to the top management and the top

20      dairy farmer leaders within DFA, and they will give me

21      honest answers to my questions.

22            DFA is a strong farmer-like grass roots cooperative

23      that I know is looking out for the best of their members

24      and the industry as a whole.

25            In the settlement DFA has admitted no wrongdoing,
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 1      and I personally believe they have not -- they have

 2      done -- they have not done anything wrong.          I am for the

 3      provision in the settlement that will allow all members

 4      to feel as confident about the cooperative as I do.

 5             The installation of the advisory member and the

 6      ombudsman's roles on the council may be valuable for

 7      some members by providing access to a third party for

 8      questions and grievances.       I think whenever there is

 9      more transparency involved, it is a good thing.

10             Dairy farming to Mike and I is more than a milk

11      check.     It is a way of life.     And our cooperative is our

12      biggest partner in helping us protect our right to farm.

13      So we need to continue to work together, to support the

14      settlement, and put this lawsuit behind us once and for

15      all.     Thank you.

16                   THE COURT:    Thank you.

17             Ed King?

18                   EDGAR KING:    Good afternoon, your Honor.

19                   THE COURT:    Good afternoon.

20                   EDGAR KING:    It's a privilege to be here to

21      represent my friends and my neighbors and my co-op

22      members.

23             I am a third-generation dairy farmer --

24                   THE COURT:    So we probably can guess at the

25      spelling of your name, but I need to make sure --
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 1                  EDGAR KING:    Oh, King, K-i-n-g.      First name

 2      Edgar, E-d-g-a-r.      I apologize.    I had that written

 3      right in front of me and I totally overlooked it.

 4            I am a third-generation dairy farmer.         I farm with

 5      my wife and two of our four sons on a farm that's been

 6      in the family for about 110 years.         We're excited that

 7      we have high school-age grandchildren who want to farm.

 8      As you can see, that would make the fifth generation.

 9      Together, we milk about a thousand cows near

10      Schuylerville, New York.       Now that's in eastern edge of

11      New York, north of Albany about 40 miles.

12            I have had the privilege of representing my

13      neighbors and friends for 20 years on the Dairylea board

14      of directors and for a couple years recently, and then I

15      decided it was time to pass the baton.

16            I grew up on my family's dairy farm.         I graduated

17      from Cornell in 1963, and I had the foresight to be

18      married before I graduated so my wife and I came back

19      home and began dairying with 32 cows.

20            In 1972 we expanded by constructing a 110-cow barn.

21      And as our sons came home to the business, and in one

22      case one left for another pursuit, we have grown the

23      business to the present size today.         It's been sort of

24      static for a few years.

25            We love our cows.      We're fortunate to have
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 1      developed the kind of cattle that others appreciate.

 2      And marketing them has proven to be both satisfying and

 3      profitable.     Our family's always marketed our milk

 4      through a cooperative because we recognize that their --

 5      that the cooperative's professional marketers are best

 6      qualified to represent us in the marketplace.

 7            I have been active in a number of farm

 8      organizations, and I currently or I have served as an

 9      elder in my church for, I don't know, more than 40

10      years.    I didn't really look back, but it's more than

11      40.

12            And my interest and issues facing farmers resulted

13      in me becoming a bit of an industry activist that led to

14      leadership positions in numerous organizations, and I

15      have had some experience that not a lot of other farmers

16      have had.     I -- among other things, I spent 11 years as

17      a deputy commissioner of agriculture in New York where I

18      had all of the milk program responsibilities, both

19      economic and sanitary.       After that I spent some time in

20      our Assembly with the Assembly agriculture committee.

21      That relates to your House here in Vermont.           And I was

22      the dairy industry guru for the Assembly ag committee

23      and for a joint legislative commission on dairy industry

24      development.

25            That was followed by three years as manager of
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 1      government and customer relations with the Regional

 2      Cooperative Marketing Agency known in the trade as --

 3      the acronym was RCMA, and that was a super co-op.            It

 4      priced fluid milk for all the co-ops and for independent

 5      farmers in the marketplace in the Northeast.

 6              All during that time, I -- by the good graces of my

 7      wife and my family, we continued with our dairy farm

 8      operation, but I have had some unique experiences, and I

 9      have had the chance to sort of look at things from

10      different perspectives, and the knowledge that I gained

11      while serving in all these various capacities is that

12      the business of marketing milk to processors is very

13      demanding.    In short, it's a tough business, a business

14      that's not for the faint hearted and therefore best left

15      to professionals, like cooperative.

16              I just can't seem to give up this public work so I

17      serve today as -- and I think my sons enjoy it that I am

18      away from the farm, and -- but I enjoy working with

19      them.    I serve as a pro bono commissioner representing

20      agricultural issues, interests, on our New York State

21      board of real property services.         And for the last seven

22      years I have chaired the New York State Farm Service

23      Agency state committee.       So why am I here today?

24              I am here because I strongly support the proposed

25      settlement.     I have attended a number of these hearings,
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 1      and I have reviewed the proposal, and I am completely in

 2      favor of it.     We can accomplish what we need to best by

 3      working through, I believe, the structure of DFA/DMS and

 4      others in order to receive the highest possible returns

 5      for our members.

 6            I have watched all of the machinations in the

 7      marketplace, from seeing producers lose markets, people

 8      who thought they had a guaranteed market forever with a

 9      processor only to be dumped because the processor had

10      too much milk.     And DFA's never -- never terminated a

11      member because we had too much milk.         We have marketed

12      that milk for our members.       And I think that's to our

13      credit.    We didn't seek to get away from the

14      responsibility of marketing all the milk that we had.

15            Never before has bringing resolution to this issue

16      been more critical than it is now, especially given the

17      excess supply of milk in our region.         As I see it, the

18      farmers opposing the settlement -- and I will be kind of

19      blunt here -- most likely are probably seeking to

20      destroy DFA.     That's my opinion.

21            My experience in the marketplace tells me that

22      given today's market conditions, if DFA no longer

23      existed, given today's present market conditions, prices

24      would -- to the farm, would plummet.         That's my

25      observation, my estimation.
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 1             The settlement provides -- it gives provisions

 2      which would add a new voice to the area council -- I am

 3      in support of that -- and a new person for others to

 4      approach to resolve the issues of distrust about DFA and

 5      DMS.     There's nothing we can't solve if we talk to each

 6      other.     Therefore, I see it a benefit to the portion of

 7      the settlement entitled Farmers', Affiliates' and

 8      Cooperatives' Right to Terminate.         This provision would

 9      enable an unsatisfied member to terminate their

10      membership upon their request.        That wouldn't be

11      constrained.

12             So in summary, I just wish to see this lawsuit end,

13      period.     That's why I'm here today.      I thank you for

14      your attention and allowing me for the opportunity to

15      express my thoughts.

16                   THE COURT:    Thank you.

17             Darlene Reynolds.

18                   DARLENE REYNOLDS:     Hello.   My name is

19      Darlene Reynolds, D-a-r-l-e-n-e R-e-y-n-o-l-d-s.             And I

20      am here in support of settling this.

21             I am a first-generation farmer.       My husband had a

22      farm with his family but they divorced, and so we were

23      out to start on our own in 1991, and during that time,

24      we leased cows and we leased a farm, and it was a rough

25      start, you know, when you try and take and start on your
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 1      own and get everything started.        And then we were able

 2      to move from Highgate to Alburg, Vermont, where we are

 3      now, in 1994, and began our journey of becoming the

 4      farmers that we are today.

 5            We currently milk about 685 cows, and we have about

 6      450 young stock.      And I also have four daughters, and

 7      we're a very feminine farm.        About 50 percent of the

 8      people that we have employed for us are female, and I

 9      take a lot of pride in that.        And our current name is

10      Crosswinds Dairy and Daughters.        And I am a member of

11      DFA, and I was not a member of DFA in the beginning.           I

12      had a previous cooperative but chose, in 2002, to become

13      a DFA person.

14            The first immediate thing that I got when I came to

15      DFA is how much involvement they wanted me to become

16      into, which excited me, because as a first generation,

17      and me not from a dairy farm -- I actually have a degree

18      in social work -- I really wanted to find out how things

19      worked, and the first thing they said is, Well, why

20      don't you become a delegate.        So it was -- it took me

21      probably three or four years.        I made the decision why,

22      why not.    So I became a delegate and I feel like my

23      educational journey had began where I was able to do

24      some traveling to annual meetings.         I was able to go to

25      Syracuse for other meetings.        And it allowed me to find
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 1      out how milk marketing worked.        It allowed me how to

 2      figure out that the Northeast was not the sole place for

 3      milk, and it wasn't just in Vermont that things

 4      happened, that it was on a national level.          It really

 5      gave me a good objective of what we were doing back at

 6      home, you know, of what was going on nationally as well.

 7            So I think that in settling this, with the people

 8      that you have on the advisory committee, the council, as

 9      well as the ombudsperson to help with mediation, it only

10      pushed forward on the educational piece.

11            And I want to say -- I want to thank Miss Allen for

12      coming up here in support of this settlement.           I think

13      it's the first step in us as a family, because I

14      believe -- even being a first-generation, I gotta say

15      that everybody that's behind me, they're a part of my

16      family now.     They say that they're third-, fourth-.          I

17      have always been impressed on how much they have allowed

18      me, being kind of an outsider, to come in and be a part

19      of it and treat me as an equal and become a part of that

20      family.

21            So with this being settled, I believe it can start

22      the process of healing and pushing our industry forward,

23      which it desperately needs right now with the fact of

24      what's going on in our milk markets.         Thank you.

25                  THE COURT:    Thank you.
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 1            Rob Morrill.

 2                  ROB MORRILL:      Thank you, your Honor, for

 3      the privilege of speaking today.         My name is Rob

 4      Morrill, M-o-r-r-i-l-l.       And our family resides in

 5      Concord -- Pennycook, New Hampshire, which is a village

 6      within the city of Concord.        Geography is we are an hour

 7      north of Boston, an hour west of the Atlantic Ocean, and

 8      an hour south of the White Mountains.

 9            We are very fortunate to farm within the city of

10      the capitol of New Hampshire where I actually live.          We

11      farm approximately a hundred acres of field land right

12      there that goes back to the first minister of the city

13      of Concord that our farm currently owns, my wife and I.

14      And when we're working out in the fields, in the

15      background is the capitol dome of the city, so -- of the

16      whole state.     Excuse me.

17            But we farm in the village of Pennycook.          My

18      grandfather purchased that farm in 1925.          I'm the third

19      generation myself, and three of our sons is involved in

20      the business.     There's a fourth generation.        They

21      officially came in and we became an LLC in 2012, where

22      we expanded and leased a second location 60 miles

23      away in Acworth, New Hampshire, which is on the

24      Connecticut River Valley.       So we've learned what farming

25      two operations 60 miles apart is like, but their future
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 1      is they hope to build a new facility.

 2              My wife and I were very blessed with four children.

 3      The three boys have come back to the farm.          And our

 4      daughter currently is on staff at Cornell as a dairy

 5      extension specialist, and she married a dairy farmer in

 6      upstate, near Potsdam, New York.         So to think that they

 7      all wanted to be part of the dairy industry, we were

 8      very fortunate because I can remember taking -- going

 9      with my grandfather with canned milk to the plant on

10      North State Street in Concord when I was a very, very

11      young boy.    They were a member of Concord Dairy, which

12      was a farmer-owned co-op back then, of which today it is

13      owned by HP Hood company, and the milk from our farm

14      still goes to that exact same plant.         Every year of my

15      life that is where our milk has gone, and I drive past

16      that plant every day going to and from my house to the

17      farm.    So that's kind of a unique thing within our

18      industry because so many people don't have an awareness.

19              However, in approximately 2003, we had been through

20      Concord Co-op.     They merged with Weeks Dairy.        It was

21      sold to Crowley Foods, then to NDS.         Then the plant was

22      sold to HP Hood.      During the Crowley time was when DMS

23      was formed.     We were independent producers at that point

24      and it didn't take too long to realize we needed to

25      become members of this co-op because, yes, we felt we
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 1      had a very strong market because it was right there, the

 2      fluid market, but the market -- milk-marketing industry

 3      has changed today considerable.        It's not a local

 4      market.    It is a world market, and milk marketing, you

 5      need to be looking at the world market all the time

 6      today for this industry.       And so this settlement allows

 7      DMS and DFA to pursue those interests.          They don't need

 8      to be tying up energy, you know, to take care of this

 9      litigation.     They can be pursuing the avenues to help us

10      as farmers back on the farm, to procure our milk

11      markets, because if we let things go the way they are

12      today, unfortunately, I am afraid, that it could be

13      worse than it is.      And, you know, I am looking at --

14      really enjoyable to looking forward to watching the

15      future generations of our farm continue, and, you know,

16      we need this settlement to settle so we can move

17      forward.    So we are continually in support of this

18      litigation to be settled.       Thank you.

19                  THE COURT:    Thank you.

20            That's the end of the people who gave us notice,

21      timely notice of their intent to appear and who are

22      actually class members and haven't opted out.

23            So we are going to take our midafternoon break.         It

24      will be approximately 10 minutes.         When we come back, if

25      the attorneys want to make any further arguments, they
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 1      may do so.

 2              Anything to bring to my attention before we break?

 3                   MR. PIERSON:     No, your Honor.

 4                   THE COURT:     Let me ask, what would you like to

 5      bring to my attention?

 6                   CLAUDIA HAAR:     Just that I had wanted Joshua

 7      Haar to speak as my proxy, and Dave Ward and Rod

 8      Jennison had also wanted him to speak on their behalf,

 9      and we weren't sure if you were going to save that to

10      before the counsel or after.

11                   THE COURT:     Why don't we do that right now and

12      we will take our break afterwards.

13                   CLAUDIA HAAR:     Thank you.

14                   THE COURT:     So come on forward.    And I thought

15      that you had given the proxy to Jonathan Haar, but I

16      understand that it's now been given to you.           So go ahead

17      and say your name for the record.

18                   JOSHUA HAAR:     Thank you very much.     Joshua

19      Haar.    That's H-a-a-r.

20              All right, yes.     A couple quick remarks to begin

21      here.

22              First of all, I wish to thank the Court for hearing

23      from as many people as it has today, and I wish to thank

24      everyone who has showed up.

25              As quite a few of us have heard today, it is very
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 1      difficult to get farmer input.        And even so, I wish to

 2      direct the attention to the Court that very few of those

 3      who spoke today are not personally affiliated with

 4      either a named defendant or a co-conspirator.           The

 5      reason the law provides that the Court must consider the

 6      reaction of the class, not the defendants, is that

 7      defendants and those affiliated with them have a clear

 8      incentive to settle.

 9             Of course these individuals think it's time for

10      this case to be settled.       In the case of DFA members,

11      Northeast Area Council members, and DairyOne, these

12      people are members of organizations which are personally

13      called to task for their violations of federal antitrust

14      law.   In the case of members of St. Albans Cooperative,

15      their cooperative participated with DFA in creating DMS,

16      which is a named defendant also being brought to task

17      for its violations of federal law.

18             Now, regarding the response of the class, there

19      are, I understand, approximately 1200 letters in support

20      of this proposed settlement whereas last time there was

21      barely a dozen.     It's pretty clear what happened.

22      There's only one party to this case that has the ability

23      to reach that many farmers, together with the power to

24      make sure these farmers actually sign and deliver

25      letters in support.
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 1            I would like to refer the Court to, in our list of

 2      exhibits, the -- I believe it is the plastic page where

 3      you have there the Oneida-Madison Milk Cooperative

 4      annual meeting agenda, and if you turn to page -- the

 5      second page of that agenda, you will note that two DFA

 6      members appear on the agenda.

 7            Now, my understanding is that the law states that

 8      it is improper for defendants to contact class members

 9      in regard to settling a case.        Not only were these

10      people contacted, they presented at the meeting, and if

11      you turn to the next page, you will see on the

12      Oneida-Madison Milk Co-op settlement update this co-op

13      put out a request for support of the settlement.

14            We heard from several members of the South New

15      Berlin Co-op today.      I would refer the Court to the

16      declaration of Mr. Kenneth Dibbell, document 722, filed

17      March 11, 2016, in which case Mr. Dibbell was personally

18      threatened by Mr. Ed King, general manager of the South

19      New Berlin Co-op, because, quote, If I -- this is

20      Mr. Dibbell speaking.      Quote:    If I encouraged farmer

21      members to oppose this settlement through my petition --

22      DFA markets a hundred percent of South New Berlin

23      milk -- these people are on the line for their entire

24      cooperative.

25            I would also like to refer the Court to the letter
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 1      All South New Berlin Co-op Milk Producers.          This was

 2      delivered to my proxy provider, I guess, Mr. Dave Ward:

 3      These co-ops are tightening the noose around the necks

 4      of farmers as DMS realizes that if it does not get

 5      enough support for this settlement, it is going down.

 6            I would also like to refer the Court to the

 7      letter -- just a moment, please.         Okay, Cortland Bulk

 8      Milk Producers Corporation.         This is document number

 9      724, filed March 16, 2016.         Mr. Stuart Young, the CEO of

10      East River Dairy and president of Cortland Bulk Milk

11      Producers Corporation, says, I quote:         DFA and DMS are

12      responsible for marketing most of our members' milk.

13            Now, we were surprised to see this letter on the

14      docket because we had seen that name recently too.             If

15      you turn to the next page, you will see the Dairy

16      Farmers of America.      This is our milk production slip

17      from October 16, 2015, for the milk for the period

18      ending November 30 last year.         At the bottom of the page

19      you will see a $16 deduction going to Cortland Bulk Milk

20      Producers Corporation.       That shows very clearly how we

21      obtained the support:      We purchased it.

22                  THE COURT:     Okay.    A couple more minutes.

23                  JOSHUA HAAR:     Yes.

24            One other question I would have for the Court.            I

25      understand I started roughly four, five minutes ago.
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 1      Mr. Dave Ward and Mr. Rod Jennison both requested to

 2      speak, so I would like to know if I am permitted five to

 3      seven minutes or --

 4                  THE COURT:     That wouldn't be fair to other

 5      people.

 6                  JOSHUA HAAR:     -- the ten to 14?

 7                  THE COURT:     So if you can finish up in the

 8      next three, four minutes, that would be fine.

 9                  JOSHUA HAAR:     Okay.   Will do so.

10            One other procedural issue with this settlement is,

11      because -- Mr. Doug Ricker testified earlier -- excuse

12      me, spoke earlier regarding the efforts of class counsel

13      to secure new class representatives.         It was clearly in

14      their incentive to do so.       But a look at the docket will

15      explain that the action in response to that motive did

16      not come from subclass counsel.        It came from

17      defendants; note the motion to decertify.          This is what

18      provided Mr. Pierson the opportunity to bring up these

19      replacement class representatives.         But that was not the

20      only motive on the table.

21            You see, if you look a little further back to the

22      filing from the Eastern District of Tennessee, you will

23      see that Mr. Kuney did exactly the same thing,

24      successfully decertifying the DFA subclass in the

25      Southeast litigation.      His signature appears at the top
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 1      of the filing.     The primary -- or the first reason he

 2      listed for decertification was that the class members

 3      were -- or the class representatives, excuse me, were

 4      not DFA members and they were not typical of the DFA

 5      subclass.

 6            None of the four people who Mr. -- the class

 7      counsel put forward as class representatives are DF- --

 8      are or have ever been DFA members.         Mr. Kuney knew that

 9      this would be a clear way to get the class undermined.

10            Now, Mr. Pierson also knew this because we told him

11      when -- if you remember from proceedings a while back,

12      the class certification hearing, when he had flown up to

13      the farm to argue my father out of speaking, and that

14      was one of the issues which we discussed at length.          So

15      Mr. Pierson knew that that would undermine his class,

16      but he did it anyway so that he could get those class

17      members on to tip the scales in favor of settlement.

18            Now, the presumption of fairness which applies in

19      class actions is designed to safeguard settlements which

20      are truly fair.     Where the collusion has been such an

21      issue in this case that this Court has felt compelled to

22      reference it at multiple proceedings, and wherever

23      evidence at this fairness hearing appears of

24      professional misconduct on the part of the attorneys in

25      trying to trick the class representatives into thinking
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 1      there was no relief available at trial, the presumption

 2      of fairness no longer applies.

 3             So for -- for that reason, there are procedural

 4      issues with this settlement in addition to the

 5      substantive ones touched upon earlier.          And on the

 6      whole, the coercion of so many of the class members --

 7             Actually, one more note on that and then I will

 8      conclude.

 9                   THE COURT:     Okay.

10                   JOSHUA HAAR:     Is that the -- we had submitted

11      the declarations of -- I don't remember the exact

12      number, but the farmers whose milk inspectors showed up

13      and told them to sign this or they might not have a milk

14      market, and I understand those for reasons were not

15      received, but the fact of the matter is, there are 1200

16      letters --

17                   THE COURT:     Well, let me just -- let me just

18      say.

19                   JOSHUA HAAR:     Okay.

20                   THE COURT:     If -- I can't look at things in

21      private.     So that's what I have tried to make clear.

22      It's against the ethical rules for me to receive things.

23      So if you want things docketed, that's fine, but I can't

24      look at things without showing them to the parties and

25      the attorneys without violating my rules.
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 1                   JOSHUA HAAR:     Okay, I understand.

 2                   THE COURT:     So that's how that happened.

 3                   JOSHUA HAAR:     So --

 4                   THE COURT:     So let's have you finish up --

 5                   JOSHUA HAAR:     Yep.

 6                   THE COURT:     -- and then we will take our

 7      break.

 8                   JOSHUA HAAR:     So -- but the evidence appears

 9      clearly on the docket where these letters came from.

10      You have the three opt-outs, docket numbers 2027, 2028,

11      and 2025, which state, "When my milk inspector brought

12      me a form to sign" -- you have document number 1281 --

13      "my DFA/DMS inspector asked me to fill this out and sign

14      it.     I think it should be illegal for him to do this."

15              In fact, it is illegal.       It's federal extortion.

16      So the procedural problems with this settlement, coupled

17      with its substantive inadequacies, require, in my humble

18      opinion, that it be denied.          The fact of the matter is,

19      it's -- it's simply not just to allow the conduct which

20      has been going on to continue, which is why the factors

21      provided under Grinnell provide plenty of discretion for

22      this settlement to be thrown out the way it deserves and

23      for our case to be brought forward.          Thank you very

24      much.

25                   THE COURT:     Thank you.
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 1            All right.     We will take our midafternoon break.

 2      As I said, it's approximately 10 minutes or so, and we

 3      will come back for any arguments the attorneys want to

 4      present.    Thank you.

 5      (Court was in recess at 2:39 p.m.)

 6      (The following was held in open court at 2:57 p.m.)

 7                  THE COURT:     We are back on the record in Alice

 8      Allen versus Dairy Farmers of America, and now we will

 9      hear from the attorneys if they want to offer any

10      further argument in favor or against the settlement.           I

11      will start with the plaintiffs' counsel.

12                  MR. PIERSON:     Thank you, your Honor.      Kit

13      Pierson for the DFA/DMS subclass.         And, your Honor, I

14      will be very brief.      I will not use my five minutes, but

15      there were a couple comments I did want to make.

16            First, I --

17                  THE COURT:     I wasn't planning on leaving the

18      attorneys with five minutes.

19                  MR. PIERSON:     No, I understand.

20                  THE COURT:     Okay.

21                  MR. PIERSON:     I am just kidding, your Honor,

22      but I will, in fact, be brief because I think -- I think

23      the Grinnell factors here -- and we will largely stand

24      on our briefs.      I think the Grinnell factors very

25      clearly and decisively point in favor of settlement
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 1      here.

 2              I did want to --

 3                   AUDIENCE MEMBER:     Can't hear    him.

 4                   AUDIENCE MEMBER:     Can't hear.

 5                   THE COURT:     Can't hear him.     Okay.

 6                   MR. PIERSON:     Okay.

 7              All right.   I did want to add that I think the

 8      Court can get additional confidence here from the fact

 9      that the Vermont Attorney General's Office has weighed

10      in, the Vermont Agricultural Committee, the Vermont

11      Senate Appropriations Committee and the New Hampshire

12      Agricultural and Environmental Committee -- were all, I

13      think, additional indicia of reasonableness.

14              Your Honor, one of the -- one of the challenges in

15      this case -- and we're both painfully aware of it -- has

16      been -- has been the distrust and, in some instances,

17      hostility that characterizes aspects of this industry,

18      and at some level I feel like, you know, we got caught

19      in the middle of that a little bit.

20              It's very, very difficult, but I think it's an

21      important aspect of the settlement that others have

22      emphasized and that I wanted to emphasize that the

23      settlement does a variety of things and a variety of

24      things that haven't been accomplished by anyone in this

25      industry in 20 years.       But among those are -- are
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 1      disclosure of a very voluminous record so people can see

 2      what the real facts are as opposed to rumor.

 3            Another thing is transparency in the management

 4      going forward.     And the other is what a number of people

 5      talked about today, the role of the ombudsperson in

 6      particular in creating a better mechanism for dialogue

 7      so the industry can move forward based on facts and

 8      reality and an ability to have a dialogue, and I think

 9      those things are important.

10            The last two comments I wanted to make, your Honor,

11      are these:    So it's been seven years, and I do want to

12      thank the Court for -- it's been a very challenging

13      case, as you know.      I want to thank you for your hard

14      work, for your patience, and for -- and for your

15      fairness, and it's recognized and appreciated.

16            I also want to give one other thank you,

17      your Honor, which is to my colleagues, Brent Johnson

18      and Emmy Levens.      It's been a tough case for the

19      attorneys.    You know that.     But I watched -- I hired

20      these attorneys, and I have watched them grow up on this

21      case for seven years.      They have been incredibly

22      dedicated to the subclass and to this litigation and to

23      professionalism for seven years, and as their boss, as

24      their friend, as their colleague, I want to thank them

25      for their dedication.
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 1                   THE COURT:    All right.    Thank you.

 2              Anybody else from the plaintiffs' counsel that

 3      wants to speak?

 4                   MR. ABRAMS:    Thank you, your Honor.      Bob

 5      Abrams on behalf of the non-DFA/DMS subclass.

 6              And I too want to thank the Court.       I particularly

 7      want to -- I will make this point.         When we came to you

 8      with the initial settlement agreement, I thought it was

 9      a very good settlement agreement.         You suggested that we

10      focus on some nonmonetary concepts.         We did that, and we

11      did it again.     And I'm going to stand here and say I can

12      tell you, at least from perspective, and I know the

13      perspective of virtually everybody that I have

14      interacted with, believes it is now an excellent

15      settlement agreement.

16              I don't know that the history is particularly

17      important, but a lot of these provisions, particularly

18      the ombudsman provision -- for example, there was a

19      provision in the Southeast SMA settlement provisions

20      that was akin to that, but it isn't nearly as good as

21      that.    And we did go back and we, together with all the

22      lead counsel on the plaintiffs' side and with DFA,

23      forged what is truly, I think, an excellent nonmonetary

24      provision in that respect and in many others that

25      your Honor now sees.
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 1            So I think -- I thank you.       I thank you on behalf

 2      of the class we represent, and hopefully the Court will

 3      approve the settlement.

 4                  THE COURT:    Thank you.

 5            Anybody else from the plaintiffs' counsel

 6      perspective?

 7                  MR. SMITH:    Thank you, your Honor.       Daniel

 8      Smith for the non-DFA subclass.        Also would be very

 9      brief.

10            I think when we came into the case we made it very

11      clear that we had heard all of the directives that the

12      Court had provided for the path forward and tried to

13      follow that.     I think you have heard from -- as to the

14      substantive provisions on the substantive side.              The one

15      thing I would add there is that the -- the new council

16      members specifically tasked with dealing with higher

17      milk prices, which is ultimately the substance of this

18      case, over-order premiums, that's the specific charge

19      that the advisory council was giving.

20            On the procedural side, I think the one --

21                  (Disruption from sound interference in

22      courtroom.)

23                        MR. SMITH:    On the procedural side, I

24      think the one thing to accentuate there is your clear

25      directive, was the need to hear from the class, and I
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 1      think what you have heard today is from the class, and

 2      you have received the letters that we received.              I think

 3      both Commissioners Taylor and Aubertine gave their

 4      opinion that this is representative of the opinion of

 5      the class of what's been expressed to you.          So those

 6      would be the two points that I would accentuate.

 7              And I obviously don't have the history with the

 8      case to extend appreciation, but I would just end where

 9      I started, which is that the guidance you provided

10      really did lay out the path for -- for reaching a

11      settlement two days before Christmas.         You gave us a

12      pretty tight window, but we did manage to meet your

13      path.    Thank you.

14                   THE COURT:   All right, thank you.

15              Any further comments on behalf of plaintiffs'

16      counsel before I turn to the defendants?

17              Mr. Kuney.

18                   MR. KUNEY:    Thank you, your Honor.       Steve

19      Kuney on behalf of DFA and DMS.        I'll try to keep to the

20      brevity that my colleagues have demonstrated so far.

21              I do appreciate the Court's attitude today in

22      providing opportunity for all of the class members who

23      had expressed an intention to speak to have the

24      opportunity notwithstanding the issue about the timing

25      of the postmarks.      I'm glad those people had a chance to
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 1      speak, and I think they feel the way we would like

 2      people to feel about having had a chance to participate

 3      in a process and having their voices heard so that kind

 4      of as citizens and as class members I think they feel

 5      very good about the opportunity they had here this

 6      afternoon.

 7            I want to do something that I almost never do

 8      anymore which is express surprise at this point in my

 9      career.     I try not to say I am surprised by things.       But

10      as the -- typically in the class cases, being on the

11      defense side, the settlement process is usually a bit of

12      tug-of-war for all you are trying to do is not let the

13      other side pull very far on the rope.

14            The way the negotiation process played out here, it

15      actually became an opportunity to try to do something

16      positive.     And the many -- the praiseworthy comments you

17      heard this afternoon about the new positions that have

18      been created and about the new transparency that has

19      been created, about the new, positive framework it may

20      bring to bear on the co-op, the people on the DFA side

21      actually endorse that wholeheartedly, and I can, as

22      their counsel, endorse it as well, that it was a rare

23      opportunity as a defendant in a class case to feel as if

24      the settlement process gave me and us a chance to do

25      something better notwithstanding our views about the
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 1      allegations that had led to the case in the first place.

 2            So appreciate that, and appreciate the Court's

 3      patience and attention to the case throughout, and

 4      again, thank you on behalf of the class members here

 5      today.

 6                  THE COURT:     All right.    At this point I am

 7      going to take the matter under advisement.          I am going

 8      to get you a prompt written decision.         I have to do it

 9      in writing.     It's just not something that the Court can

10      reel off on the record without giving careful

11      consideration to the laws and the facts.

12            I have read everything that you filed.          That was

13      quite an expedition of its own.         And when I say prompt,

14      I do it in the Court's quotation marks, so what you

15      think is prompt might be different from what I think is

16      prompt, but certainly within the next 60 days.

17            Thank you.

18                  MR. PIERSON:     Thank you, your Honor.

19                  MR. ABRAMS:     Thank you, your Honor.

20                    (Court was in recess at 3:08 p.m.)

21                                  *** ** ***

22                      C E R T I F I C A T I O N
             I certify that the foregoing is a correct
23      transcript from the record of proceedings in the
        above-entitled matter.
24

25      June 1, 2016                 _______________________
        Date                         Anne Nichols Pierce
